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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________
                                                                                   DECISION
GARY METZGAR, RICHARD MUELLER,                                                         and
KEVIN REAGAN, RONALD REAGAN,                                                         ORDER1
CHARLES PUGLIA, SHERWOOD NOBLE,                                               -----------------------------
DANIEL O’CALLAGHAN,                                                                  REPORT
                         Plaintiffs,                                                   and
     v.                                                                        RECOMMENDATION

U.A. PLUMBERS AND STEAMFITTERS LOCAL
 NO. 22 PENSION FUND,
BOARD OF TRUSTEES OF U.A. PLUMBERS AND                                             13-CV-85V(F)
 STEAMFITTERS LOCAL NO. 22 PENSION FUND, and
DEBRA KORPOLINSKI, in her capacity as Plan
 Administrator, for the U.A. Plumbers and Steamfitters
 Local 22 Pension Fund,
                                  Defendants.
________________________________________

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   Motions pursuant to Rule 15(d) are non-dispositive. See McKenzie v. Obertean, 2019 WL 441593, at
*1 n. 1 (W.D.N.Y. Feb. 5, 2019) (citing Fielding v. Tollaksen, 510 F.3d 175, 178 (2d Cir. 2007); (Second
Circuit found magistrate judge decision to deny plaintiff’s motion to amend based on futility not “an abuse
of discretion.”); Palmer v. Monroe Cty. Sheriff, 378 F.Supp.2d 284, 289 (W.D.N.Y. 2005) (internal citation
omitted); but see Crenshaw v. Hamilton, 2012 WL 1565696, at *1 n. 1 (W.D.N.Y. Mar. 30, 2012) (citing
Velez v. Hartke, 2011 WL 2489987, at *1 n. 2 (W.D.N.Y. May 13, 2011)). Accordingly, as Plaintiffs’
motion for leave to serve a supplemental complaint is closely related to the parties’ opposing motions for
summary judgment the court considers such motions in this combined Decision and Order and Report
and Recommendation.
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                                      JURISDICTION

       This case was referred to the undersigned by Hon. Richard J. Arcara for all

pretrial matters on October 29, 2014 (Dkt. 40). It is presently before the court on

Defendants’ motion for summary judgment, filed February 1, 2018) (Dkt. 98), Plaintiffs’

motion for summary judgment (Dkt. 101), Plaintiffs’ motion for leave to file a

supplemental complaint filed February 1, 2018 (Dkt. 110), and Plaintiffs’ motion for a

preliminary injunction also filed February 1, 2018 (Dkt. 111).



                                     BACKGROUND

       In this ERISA, 29 U.S.C. § 1001, et seq., action Plaintiffs allege unlawful

reductions and/or elimination of Plaintiffs’ accrued pension benefits in violation of 29

U.S.C. §§ 1054(g), denial of Plaintiffs’ pension benefits in violation of § 1132(a)(1)(B),

breach of fiduciary duty in violation of § 1104(a)(1), and declaratory relief. On February

1, 2018, Defendants moved for summary judgment (Dkt. 98) along with the Affirmation

of Jules L. Smith in Support of Defendants’ Motion For Summary Judgment (Dkt. 98-3)

and an Affidavit In Support Of Defendants’ Motion For Summary Judgment (Dkt. 99)

attaching Exhibits A – Q (Dkt. 99-1-17) (“Defendants’ motion”). An (Amended)

Memorandum Of Law In Support Of Defendants’ Motion For Summary Judgment was

filed February 1, 2018 (Dkt. 100).

       Plaintiffs filed their Notice Of Motion For Summary Judgment also on February 1,

2018 (Dkt. 101) attaching Plaintiffs’ Memorandum Of Law In Support Of Motion For

Summary Judgment (Dkt. 101-1), Plaintiffs’ Rule 56.1 Statement Of Undisputed Facts

(Dkt. 101-2), Attorney Affirmation of A. Nicholas Falkides, Esq. (Dkt. 101-3) with

Exhibits A-T (Dkts. 101-4-23), the Affidavit of Ronald Reagan in Support of Motion for

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Summary Judgment (Dkt. 102), Affidavits in Support of Plaintiffs’ Motion for Summary

Judgment of Kevin Regan (Dkt. 103), Ronald Reagan (Dkt. 104), Gary Metzgar (Dkt.

105), Richard Muller (Dkt. 106), Daniel O’Callaghan (Dkt. 107), Charles Puglia (Dkt.

108), and Sherwood Noble (Dkt. 109). (“Plaintiffs’ motion”)

        Defendants’ Response To Plaintiffs’ Local Rule 56.1 Statement (Dkt. 115) and

Memorandum Of Law In Further Support Of Defendants’ Motion For Summary

Judgment And In Opposition To Plaintiffs’ Motion For Summary Judgment (Dkt. 116)

was filed March 5, 2018.2 Plaintiffs’ Counter-Statement of Facts (Dkt. 118),

Memorandum Of Law In Opposition To Defendants’ Motion For Summary Judgment

(Dkt. 118-1) and the Attorney Affirmation of A. Nicholas Falkides (Dkt. 118-2) were filed

March 5, 2018. Exhibits A – I for Plaintiff’s Opposition (Dkt. 118) were filed in a

separate filing on March 5, 2018 (Dkt. 119). Defendants’ Memorandum Of Law In Reply

To Plaintiffs’ Opposition And In Further Support Of Defendants’ Motion for Summary

Judgment (Dkt. 120) and Plaintiffs’ Reply Memorandum Of Law In Support Of Motion

For Summary Judgment (Dkt. 121) were filed March 19, 2018.

        Plaintiffs also moved on February 1, 2018, for Leave to File Supplemental

Complaint (Dkt. 110) along with the Attorney Affirmation of Matthew K. Pelkey (Dkt.

110-1) attaching Exhibits A-H (Dkts.110-2-9) (“Plaintiffs’ Motion To File A Supplemental

Complaint”). Defendants opposed the motion by filing on March 5, 2018, Defendants’

Memorandum Of Law In Opposition To Plaintiffs’ Motion For Leave To File A

Supplemental Complaint (Dkt. 114). Plaintiffs’ reply, Attorney Affirmation of Matthew K.




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  Defendants’ Memorandum included Defendants’ request to withdraw Defendants’ counterclaims, Dkt.
116 at 18, which the court treats as a motion to dismiss counterclaim pursuant to Fed.R.Civ.P. 41(a)(2).
See Discussion, infra, at 52-54.
                                                     3
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Pelkey, was filed March 19, 2018 (Dkt. 122) with the continuation of exhibits filed as

(Dkt. 124).

         By papers filed February 1, 2018, Plaintiffs moved for a Preliminary Injunction

(Dkt. 111) along with Plaintiffs’ Memorandum Of Law In Support Of Motion For

Preliminary Injunction and the Attorney Affirmation of Matthew K. Pelkey, Esq. (Dkt.

111-2) attached Exhibits A-F (Dkt. 111-3-18) (“Plaintiffs’ Motion for Preliminary

Injunction”). Defendants’ Memorandum Of Law In Opposition To Plaintiffs’ Motion For

Preliminary Injunction was filed March 5, 2018 (Dkt. 117) and Plaintiffs’ Reply

Memorandum Of Law In Further Support Of Their Motion For Preliminary Injunction was

filed March 19, 2018 (Dkt. 123).

         Oral argument was deemed unnecessary. Based on the following Defendants’

motion should be GRANTED; Plaintiffs’ motion should be DENIED; Plaintiffs’ motion to

file a supplemental complaint should be DENIED; Plaintiffs’ motion for preliminary

injunction should be DENIED.



                                                  FACTS3

         Plaintiffs are retired members of U.A. Plumbers & Steamfitters Local 22 (“the

Union”) who, based on their prior active Union membership, were entitled to participate

in the Defendant U.A. Plumbers & Steamfitters Local No. 22 Pension Fund (“the Fund”).

The Fund is a defined benefit multi-employer pension plan under a Trust Agreement

and Declaration created April 18, 1999 by the Fund’s Trustees made up of

representatives of the Union and an association of plumbing, heating and cooling

service contractors doing business in Western New York (“the Trust”). The Fund’s


3
    Taken from the pleadings and papers filed in this action.
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pension benefits to eligible Union member participants are provided through the U.A.

Plumbers and Steamfitters Local No. 22 Pension Fund Restated Plan of Benefits

adopted by the Fund’s Trustees effective May 1999 (“the Plan”). The Fund has eight

trustees on the Board of Trustees – four representatives of the contractors and four

from the Union. Defendant Korpolinski is the Administrator of the Fund, a position she

had held since 2005; prior thereto the position was held by Janice L. Maslen. The Fund

is financed by contributions of participating employers, plumbing, heating and cooling

contractors, of Union members based on the number of hours worked by Union

members who were employed by contractors participating in the Fund as required by a

multi-employer Union Collective Bargaining Agreement (“CBA”). Plaintiffs are among

1,868 participants and beneficiaries of the Fund as of March 2012 which then had

assets of approximately $140 million. An Employee is eligible for benefits under the

Plan upon performing 800 hours of covered employment, i.e., as a plumber or

steamfitter, employment which is subject to the CBA (“covered service or employment”)

and is vested as an accrued pension benefit under the Plan after five years of covered

service. Contributing employers make contributions to the Fund to support employee

pensions based on an employee’s hours of work in covered employment, but not on

behalf of employees who serve in managerial positions or as project managers or

estimators.

       Article V Section 3 of the Trust grants to the Trustees the “full and exclusive

discretionary authority to determine all questions of coverage and eligibility, method of

providing benefits and all related matters . . . [and that the Trustees have] full

discretionary authority to interpret the provisions of this Trust Agreement and the Plan of

Benefits . . ..” Dkt. 99-1 at 12-13. The Trust also requires the Trustees comply with
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ERISA and the Internal Revenue Code so that “the Trust and Plan of Benefits . . . will be

structured and operated to qualify for approval by the Internal Revenue Service

(“I.R.S.”) as a tax-exempt Trust and Plan to ensure that the Employer contributions to

the Fund are proper deductions for income tax purposes” and states [i]t is the intention

of the Trustees to fully comply with all requirements of the Internal Revenue Code.”

(Art. VII Sec. 4). Dkt. 99-1 at 29.

       The Plan in Art. V Sec. 1(a) provides for a “Normal Retirement” pension available

to employees at age 65, Dkt. 99-2 at 15, an “Early Retirement” pension Art. V Sec. 1(c)

at a reduced monthly payment, Dkt. 99-2 at 18, and as provided in Art. V Sec. 1(d) a

“Special Early Retirement” pension (“Special Early Retirement” or “pension”) available

to an employee with at least 30 years of covered service at age 55 under a so-called

Rule of 85, Dkt. 99-2 at 18, in the amount of the employee’s Accrued Benefit. Id.

Beginning in 2002, each Plaintiff, then eligible under the Rule of 85, applied for and

received the Fund’s approval of a Special Early Retirement pension (Dkt. 101-2 ¶¶ 35-

37). The Plan also provided for a suspension of pension benefits for any recipient who

received a Normal Retirement pension from the Fund and who worked for over 40 hours

per month in a disqualifying employment or an industry covered by the Plan

(steamfitting or plumbing). Similarly, a recipient of an early retirement pension benefit,

such as Plaintiffs’ Special Early Retirement pensions, was subject to a suspension of

pension benefits for any month in which the recipient worked in an occupation in which

an employee was employed when pension benefits began, in the same industry and

geographic area covered by the Plan, for more than 120 hours per month. Art. V Sec.

3(a)(i)) (Dkt. 99-2 at 21-22) (“Disqualifying Employment”). Employment in “a managerial

position” or as a “project manager or estimator” for a participating employer by a
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participant receiving a Special Early Retirement pension was not Disqualifying

Employment subjecting the recipient to a suspension of benefits under Art. 5 Sec. 3 of

the Plan (“Art. V Sec. 3”). Dkt. 99-2 at 21. Former employees who continued in non-

Disqualifying Employment were also not subject to any limits as to total monthly working

hours which also did not apply after a recipient reached age 70½. Art. V Sec. 3(a)(1).

When Plaintiffs applied for their Special Early Retirement pensions the Plan did not

contain any definition of the term “to retire” or “retirement,” and the Plan was

administered with the understanding that applicants for Special Early Retirement

pensions could receive, without incurring a suspension of benefits, both their monthly

Special Early Retirement pension as well as earnings from employment with a

participating employer for whom the employee had previously worked provided the

employees were to be employed in non-Disqualifying Employment, i.e., a managerial

position or an a project manager or estimator, at the time the employees’ Special Early

Retirement pensions commenced, as defined in Art. V Sec. 3; Dkt. 101-4 at 93-94; 110-

11.

       Plaintiff Ronald Reagan applied for his Special Early Retirement pension on July

8, 2002, at age 55 after more than 30 years of service with John W. Danforth

(“Danforth”) most recently as a general foreman. His pension, with a monthly benefit of

$3,138, was approved August 1, 2002, effective August 1, 2002 at which time he

commenced work as a project manager with Danforth. Plaintiff Noble applied for his

pension on February 1, 2003, effective the same date, with a monthly benefit of $3,532

at age 55 after 30 years of service with Danforth. On the same date, Noble also

commenced employment with Danforth as a project management/estimator. Plaintiff

Kevin Reagan applied for his Special Early Retirement pension on December 10, 2004,
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at the age of 55 with over 30 years of service with Mollenberg-Betz (“Mollenberg”), a

contributing employer, most recently as a foreman. His pension with a monthly benefit

of $3,497 was approved and became effective on January 1, 2005. Reagan had

previously, in 2001, become eligible upon attaining age 55 for an Early Retirement

pension and left covered employment with Mollenberg to become a project manager in

which position he continued to work upon receiving his pension starting January 1,

2005.

        Plaintiff O’Callaghan applied for his Special Early Retirement pension on January

12, 2007, at age 55 after 30 years of service with Danforth most recently as a foreman

steamfitter. His pension was approved on February 1, 2007, effective March 1, 2007, at

which time he continued employment with Danforth as a project manager while

receiving monthly pension benefits of $3,098. Plaintiff Puglia applied for his Special

Early Retirement pension on September 30, 2008, at age 60 after more than 30 years of

service with MLP Plumbing and Mechanical, Inc. (“MLP”), a contributing employer, most

recently as a plumber foreman. His pension was approved and became effective as of

November 1, 2008, with a monthly benefit of $4,037. Shortly thereafter, Puglia

commenced employment with MLP as a warehouse manager, a non-Union managerial

position newly created by MLP. Plaintiff Metzgar applied for his Special Early

Retirement pension at age 55 from the Plan in May 2009, with a monthly pension

benefit of $4,313 having 30 years of covered service, most recently as a general

foreman, with his employer Danforth, a participating employer in the Fund, which

application was approved and became effective on June 1, 2009. On this date, Metzgar

commenced employment with Danforth as a “rover,” a new managerial position in which

Metzgar mentored junior foremen for Danforth. Plaintiff Mueller applied for his pension
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on April 21, 2004, at age 55 with a monthly benefit of $4,279 having more than 30 years

of service with Danforth most recently as a foreman. Mueller’s pension was approved

and became effective on May 1, 2004, at which time Mueller continued employment

with Danforth as a project manager.

       Sometime in the fall of 2011, Korpolinski and Fund Trustee Michael McNally

attended an employee benefits conference in New Orleans at which a presenter stated

that it was unlawful for the Fund, as a tax-exempt pension trust fund, to pay early

retirement pensions without the pension applicant having fully retired by completely

separating from any employment with the prior employer. Dkt. 99 ¶ 31. This

representation may have been based on an I.R.S. Private Letter Ruling No. 201147038,

issued April 20, 2010 (Dkt. 100), 2011 WL 5893533 (Nov. 25, 2011) (“the PLR”), in

which the I.R.S. stated that to retain its tax-exempt status, a qualified pension plan must

require that a participant who elects to receive an early retirement pension upon

becoming eligible, i.e., prior to age 62, as permitted by Section 401(a)(36) of the Internal

Revenue Code, must terminate all prior employment. Upon their subsequent review of

the Plan, based on this new information Defendant Trustees determined that numerous

Plan participants, including Plaintiffs, who had continued employment with their

respective former participating employers upon receiving Special Early Retirement

pensions, had been erroneously awarded such pensions in violation of the Internal

Revenue Code, specifically § 401(a) of the Code (“§ 401(a)”), by Defendants which

Defendants’ characterized as “an operational error/mistake.” Dkt. 99 ¶ 33. Based on

the terms of the Trust requiring the Trustees to operate the Fund in a manner that

preserved the Fund’s tax-exempt status, the Trustees also determined that the pensions

awarded to employees, including Plaintiffs, pursuant to the Rule of 85 under Art. V Sec.
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3 also violated the terms of the Trust and Plan. Id. ¶ 33. Following the Trustees’

determination the Plan, on November 29, 2011, sent letters to all affected Special Early

Retirement pension beneficiaries including Plaintiffs advising of the Trustees’ conclusion

that if the beneficiary had remained employed by his former employer, the beneficiary

was not entitled under the Plan to the Special Early Retirement pension he had been

receiving, and should contact the Plan’s office. Dkt. 99 ¶ 34. A second letter, dated

December 27, 2011, was sent by Defendant Korpolinski as Plan administrator to

Plaintiffs informing Plaintiffs that based on the I.R.S.’s required definition of retirement

under § 401(a), Plaintiffs must cease their current employment in order to continue to

receive their pensions after February 1, 2012, failing which their pensions would be

suspended. Dkt. 99-14. Because the recent I.R.S. Private Letter Ruling was limited to

early retirement benefits received at age 55 but not at age 62 or a later age, no letter

was sent to Plaintiff Ronald Reagan as he had then stopped all employment with

Danforth and had reached age 65 at that time and thus was not subject to a suspension

of his pension benefits under the Plan for having engaged in employment with his

previous employer at age 65. Plaintiffs were also advised to file a claim with the Fund if

they wished to dispute Defendants’ determination. In response, Plaintiffs Metzgar,

Mueller, and O’Callaghan continued working for Danforth and their respective pensions

were therefore terminated by the Plan as of February 1, 2012; as requested by the

Fund, Plaintiffs Noble, Kevin Reagan, and Puglia withdrew from employment with their

respective employers, Danforth, Mollenberg and MLP, and the Fund continued their

pension payments. Plaintiff O’Callaghan later terminated his employment with Danforth

and his pension payments were resumed.



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         On February 10, 2012, the Trustees amended the Plan by adding a new Section

5.5(a) which, in substance, Dkt. 99-3 at 80, states that retirement under the Plan

requires a participant to separate from all service, i.e., employment, with a contributing

employer with the intent that such separation be permanent except for participants who

attain the Normal Retirement Age (65) (“the February 2012 Amendments”). The

February 2012 Amendments also amended Plan Section 5.3 to include any managerial

position, project manager, and estimator as Disqualifying Employment for recipients of a

Special Early Retirement pension except for participants who have attained age 65. Dkt.

99-3 at 80-81. Following adoption of these amendments Plaintiffs allege certain

Plaintiffs were required to re-retire under the amended Plan as a condition to continued

payments of their pension, see Dkt. 110-1 ¶ 1(h), an assertion which Defendants deny.

Dkt. 110-2 ¶ 1(h).

         On March 2, 2012, Defendants filed a Voluntary Correction Plan submission with

the I.R.S., a procedure4 by which tax exempt pension plans like the Fund could request

I.R.S. approval of corrective actions taken by a plan necessary to preserve the tax-

exempt status of the plan following self-reported non-compliance, i.e., “failure” to comply

with applicable I.R.S. requirements (“the VCP” or “the VCP submission”). Dkt. 99-16 at

2-24. In the VCP, Defendants explained that the Plan had been previously

administered so as to permit participants, like Plaintiffs, eligible for an Special Early

Retirement pension, to receive such a pension without terminating all further

employment with a participating employer provided that the employees’ further

employment was as a manager, project manager, or estimator as Art. V Sec. 3 had




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    See Rev. Proc. 2006-27, 2006-22 I.R.B. 945 (May 30, 2006).
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provided. Defendants also represented to the I.R.S. that at the time of the VCP

submission Defendants now understood “their [past]5 interpretation and administration

of the Plan was not consistent with the I.R.S.’s interpretation of a ‘retirement’ under

Treasury Regulations §§ 1.401(a)-1(b)(1)(i) and 1.401(b)(1)(i) which [interpretation]

requires a separation from employment with all employers contributing to the Plan (see,

e.g., PLR 201147038)[.]” Dkt. 99-16 at 21. Defendants’ VCP submission also stated

that 30 participants in the Plan, including Plaintiffs, had received Special Early

Retirement pensions in violation of this requirement and that Defendants had stopped

payment of pension benefits to these individuals to obtain their compliance with

Defendants’ requests to terminate the non-Disqualifying Employment in which such

participants had been engaged. Id. The Fund also advised the I.R.S. it did not intend at

that time to seek recoupment of any pension payments made in violation of the

Defendant Trustees’ present understanding of applicable I.R.S. requirements and that

any potential loss to the Fund as a result of the Trustees’ error in distributing such

payments had been accounted for in “the funding liabilities of the Plan.” Dkt. 99-16 at

22, 23. In its response to the VCP, dated August 16, 2012, Dkt. 99-17, the I.R.S. stated

that based on Defendants’ VCP submission, the I.R.S. would “not pursue the sanction

of revoking the tax-favored status of the plan” based on the compliance failures and

corrective actions described by Defendants in the VCP submission. Dkt. 99-17 at 8.

The I.R.S. also stated in its acceptance of Defendants’ VCP submission, that the

“compliance statement” did not affect the rights of any party under ERISA Title I. Dkt.

99-17 at 8.




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    Unless otherwise indicated bracketed material added.
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       On March 2, 2012, Plaintiffs, through counsel, filed an administrative appeal to

Defendants of the Fund’s 2011 determination (“Defendants 2011 Determination”)

requiring Plaintiffs to terminate their employment or suffer a suspension of their pension

benefits. In their appeal, Plaintiffs contended, inter alia, that the I.R.S. definition of

retirement for purposes of § 401(a) was not relevant to Plaintiffs’ continued entitlement

to their Early Retirement pensions as protected by ERISA § 204(g) (“the anti-cutback

rule”) and was only relevant to the Fund’s tax-exempt status. Dkt. 101-9 at 3. Plaintiffs

also contended that applicable I.R.S. regulations only prohibit continued in-service or

covered employment under the CBA after retirement which does not extend to post-

retirement non-covered employment like the Plaintiffs’ non-Disqualifying Employment in

managerial positions or as project managers and estimators, in which occupations

Plaintiffs had engaged as allowed in Art. V Sec. 3. On July 23, 2012, the Fund rejected

each of Plaintiffs’ appeals. This action followed on January 25, 2013 (“Metzgar I”).

       In Defendants’ Answer, filed May 16, 2014, Dkt. 30, pursuant to ERISA §

502(a)(3), 29 U.S.C. § 1132(a)(3), Defendants counterclaimed against each Plaintiff for

the amount of the Special Early Retirement pensions paid erroneously by the Fund

which Plaintiffs had not repaid as Defendants had requested as follows: Metzgar -

$138,336.00; Mueller-$397,971.18; Noble-$381,489.48; O’Callaghan-$182,787.31;

Puglia-$158,838.81; Kevin Reagan-$282,423.55; Ronald Reagan-$357,774.18.

       Defendants’ motion to dismiss for failure to state a claim (Dkt. 11) was denied by

Decision and Order by Hon. Richard J. Arcara on May 2, 2014 (Dkt. 29), 2014 WL

1767715 (W.D.N.Y. May 2, 2014) adopting Report and Recommendation, Dkt. 20, 2014

WL 1757715, at *4 (W.D.N.Y. Feb. 14, 2014) (Schroeder, M.J.).



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       On August 26, 2016, Defendant Trustees further amended the Plan by deleting

Section 10.4 relating to disclosures of pension information for participant beneficiaries to

the Social Security Administration and I.R.S. (Dkt. 99-3 at 54), replacing it with a new

provision (Dkt. 101-12 at 1-2) authorizing the Trustees to recover wrongfully paid benefit

payments “as well as any benefit payment made in error,” with 12% interest (“the

August 2016 Amendment”). The amendment also permits Defendants to recover

wrongfully paid benefits by reducing by 25% future pension benefit payments to a

participant, or by legal action. Id. The August 2016 Amendment also requires a

participant reimburse the Fund for attorneys and paralegal fees and other expenses

incurred in collecting overpayments or mistaken payments of benefits. Id. By letters to

each Plaintiff dated December 6, 2016 (Dkt. 101-13), the Fund demanded repayment of

the alleged mistakenly paid Early Retirement pensions together with 12% interest as

follows: Metzgar-$291,547.18; Mueller-$1,172,140.72; Noble-$1,225,562.28;

O’Callaghan-$445,086.06; Puglia-$347,331.08; Kevin Reagan-$794,741.86; Ronald

Reagan-$1,190,598.14. In this letter, the Fund advised Plaintiffs that if at the time

Plaintiff legitimately, at age 65 or after terminating employment, were then receiving

their pension payments from the Plan, Plaintiffs had not fully reimbursed the Fund for

the payments mistakenly paid to Plaintiffs, the Fund would commence to withhold 100%

of the first monthly pension payment due Plaintiffs and 25% of each monthly payment

thereafter until the full amount of the pension overpayments plus interest were

recovered by Defendants. Dkt. 101-13. Thereafter, the Trustees, not having received

reimbursement from any Plaintiff as Defendants had requested, commencing with the

Plaintiffs’ January 2017 pension payment, withheld 100% of such payment and reduced

by 25% each Plaintiff’s subsequent monthly pension payment to which Plaintiffs, all
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attaining age 65, were then entitled to receive. Plaintiffs appealed these adverse

determinations on February 3, 2017. Defendants denied Plaintiffs’ appeals by letter

dated June 23, 2017. Dkt. 101-15. Plaintiffs commenced, on August 1, 2017, 17-CV-

726V(F) (“Metzgar II”), another action against Defendants, former Trustees and a Plan

administrator alleging violations of ERISA §§ 204(g), 502(a)(1)(B), 502(a)(3), 510 and

409(a), requesting declaratory and injunctive relief against further set-offs by

Defendants’ reducing Plaintiffs’ monthly pension payments which set-offs continue.



                                         DISCUSSION

I.     Summary Judgment.

       “Where ‘parties file cross-motions for summary judgment, . . . each party’s motion

must be examined on its own merits, and in each case, all reasonable inferences must

be drawn against the party whose motion is under consideration.” Fireman’s Fund

Insurance Company v. Great American Insurance Company of New York, 822 F.3d 620,

631 n. 12 (2d Cir. 2016) (quoting Morales v. Quintel Entertainment, Inc., 249 F.3d 115,

121 (2d Cir. 2001) (brackets omitted)). In this case, as the parties do not request trial,

the matter may be resolved on the parties’ summary judgment motions.

       A.     Plaintiffs’ First Claim.

              1.     Defendants’ 2011 Determination Was Not An Amendment To The
                     Plan for Purposes of § 204(g).

       Plaintiffs’ First Claim alleges that Defendants’ suspension of Plaintiffs’ Early

Retirement Pensions unless Plaintiffs terminate further employment with Plaintiffs’

employers violated the anti-cutback rule embodied in ERISA Section 204(g), 29 U.S.C.

§ 1054(g) (“§ 204(g)__” or “§ 1054(g)__”). Section 204(g)(1) provides that “[t]he

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accrued benefit of a participant under a plan may not be decreased by an amendment

to the plan . . ..” § 1054(g)(1).6 This protection applies to Plaintiffs’ Special Early

Retirement pensions under § 1054(g)(2). Specifically, Plaintiffs assert that Defendants’

determination, communicated to Plaintiffs in Defendants’ November 29 and December

27, 2011 correspondence to Plaintiffs (collectively “Defendants’ 2011 Determination”),

that unless Plaintiffs terminated Plaintiffs’ current employment with their employers, all

of which were participating employers, Plaintiffs’ pensions would be suspended,

constituted an amendment to the Plan which reduced Plaintiffs’ pension benefits,

including the possibility of Plaintiffs’ post-retirement employment as a related benefit,

prior to Defendants’ 2011 Determination, subject to protection under § 204(g). See

Central Laborers’ Pension Fund v. Heinz, 541 U.S. 739, 744-45 (2004) (plan

amendment adopted by plaintiff’s pension fund extending plan’s prohibition on post-

retirement employment to include plaintiff’s supervisory position within the construction

industry covered by plan after plaintiff’s retirement as a carpenter curtailed value of

plaintiff’s pension benefit, including plaintiff’s right to engage in post-retirement

supervisory employment as had been permitted by the plan, accrued at time of plaintiff’s

retirement, and thus violated the anti-cutback rule). Plaintiffs therefore contend that

Defendants’ demand, that Plaintiffs forgo Plaintiffs’ post-retirement employment or

suffer suspension of Plaintiffs’ Special Early Retirement pension benefits, issued

administratively by Defendants in Defendants’ December 2011 letter to Plaintiffs based

on Defendants’ determination that Plaintiffs had not retired, constituted a plan

amendment that improperly reduced Plaintiffs’ monthly pension payments as well as the



6
  A similar protection exists in the Internal Revenue Code. See 26 U.S.C. § 411(d)(6)(A); see also 26
C.F.R. § 1.411(d)-4, A-7.
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additional income Plaintiffs had been receiving from their respective post-retirement

employments which, Plaintiffs assert, had accrued when Plaintiffs retired, upon approval

of Plaintiffs pension applications, from Plaintiffs’ covered employment under the Plan.

Thus, the court first addresses whether Defendants’ 2011 Determination that

Defendants were required, under a correct interpretation and application of Art. V Sec.

1(d) of Plan (Dkt. 99-2 at 19) that Plaintiffs had not retired, to suspend Plaintiffs’

pensions pursuant to Art. V Sec. 3(a)(i) (Dkt. 99-2 at 21-22) until Plaintiffs ceased their

post-retirement employment, until reaching age 65, constituted an amendment in

violation of § 204(g), ERISA’s anti-cutback rule, as the basis for Plaintiffs’ First Claim.

       As noted, prior to February 2012, the Plan provided for a Special Early

Retirement pension under Art. V Sec. 1(d) which requires a participant attain age 55

with at least 30 years of credited service to be eligible for such pension. The Special

Early Retirement pension was also subject to suspension where the recipient returned

to work as a steamfitter or plumber in the Western New York steamfitter and plumbing

industry covered by the CBA if the recipient worked 120 hours in any month. Art. V

Sec. 3(a)(i), Dkt. 99-2 at 21. However, under this provision employment after retirement

in a managerial position or as a project manager or estimator did not subject a Special

Early Retirement pension recipient to possible suspension of his monthly pension

payment. Id. (“Sec. 3(a)(i)”) (“non-Disqualifying Employment”). At the time Plaintiffs’

pensions were approved by the Plan, the Plan Administrator understood recipients

could under Sec. 3(a)(i) receive both a Special Early Retirement pension as well as

engage in any of the three types of non-Disqualifying Employment immediately following

approval of their pensions, without any actual temporal break in their employment with

Plaintiffs’ then participating employers, without being subject to a suspension of benefits
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as required by Sec. 3(a)(i). Dkt. 101-8 (referencing Plaintiffs’ Statement of Facts, Dkt.

101-2 ¶¶ 49-62). However, the fact that the Plan Administrator correctly understood

that Plaintiffs would not be subject to any loss of benefits for having engaged in

disqualifying employment after their retirements did not address whether the Plan’s then

criteria for the Special Early Retirement pension required Plaintiffs not continue any

actual employment in order for the Fund to maintain its eligibility to operate as a tax-

exempt ERISA pension fund under § 401(a), the applicable provision of the Internal

Revenue Code for such tax benefit. However, upon learning that Defendants’

approvals of Plaintiffs’ pensions were in apparent non-compliance with the requirement

of § 401(a), as construed by the I.R.S., that to remain qualified for tax-exempt status

under § 401(a) a pension trust like the Fund in this case could not approve an early

retirement pension, i.e., one received before an employee reached 65, unless the

recipient of the early pension from a tax-exempt pension trust completely and

permanently terminated all employment, including any non-Disqualifying Employment,

which may be permitted by a plan, with the employee’s participating employer

Defendants acted to immediately bring the Plan into compliance by demanding Plaintiffs

and other employees who, like Plaintiffs, had been awarded Special Early Retirement

pensions and whom Defendants were aware had continued employment with their

employers, cease their post-retirement employment or incur a suspension of their

pensions. To insure the Plan’s future full compliance with this corrected understanding

of § 401(a) as applied to Plaintiffs’ pensions, the sole basis for Defendants’ 2011

Determination, Defendants formally amended the Plan on February 10, 2012 to require

future applicants for Special Early Retirement pensions cease any further employment.

Plaintiffs therefore contend that the Defendants’ 2011 Determination as stated in the
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December 27, 2011 Letter to Plaintiffs constitutes a “De Facto Plan Amendment”

prohibited by § 204(g), which “determination” Plaintiffs allege is the basis for Plaintiffs’

alleged anti-cutback violations. Dkt. 101-1 at 11; Dkt. 118-1 at 25 (“There can be no

dispute that Defendants, in late 2011, applied conditions to Plaintiffs’ receipt of benefits

that were neither set forth in the terms of the Plan nor applied in the first [when

approving Plaintiffs’ pensions] instance.”); Complaint Dkt 111-3 ¶ 31 (“The monthly early

retirement benefits received by Plaintiffs prior to Defendants’ December 2011 and

subsequent determinations that Plaintiffs did not actually retire . . . constitute accrued

benefits [protected by § 204(g)].”); ¶ 32 (“Defendants’ determination that each of the

Plaintiffs did not actually retire because each of the Plaintiffs continued working in Non-

Disqualifying Non-Plan employment subsequent to his retirement constitutes a Plan

amendment.”); ¶ 41 (“All of the Plaintiffs will continue to be harmed until and unless the

Defendants are estopped from refusing to recognize Plaintiffs’ original dates of

retirement pre-December 2011.”). Thus, regardless of the fact that the terms of the

alleged “De Facto” amendment to the Plan are based on the administrative

“determination” made by Defendants in December 2011, the substance of which

Plaintiffs also allege was then added to the Plan as a formal amendment in February

2012, Defendants’ November and December 2011 interpretations of the requirements of

the Plan under Art. V Sec. 1(d) for Plaintiffs’ pensions are the basis for Plaintiffs’ anti-

cutback claim pursuant to § 204(g). Accordingly, at the threshold, the court considers

whether Defendants’ 2011 Determination constitutes a plan “amendment” as that term

appears in § 204(g).

       In support of Defendants’ contention that Defendants are entitled to summary

judgment on Plaintiffs’ claim under § 204(g), Defendants rely on Kirkendall v.
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Halliburton, Inc., 2011 WL 2360058, at *10 (W.D.N.Y. June 9, 2011) (Curtin, J.),

vacated in part, and affirmed in part, 707 F.3d 173 (2d Cir. 2013), cert. denied, 571 U.S.

882 (2013) (“Kirkendall”). See Dkt. 100 at 27-28. In Kirkendall, the court held that the

term “amendment of the plan” as stated in § 204(g) refers only to “actual amendments

to the terms of the plan, not to a plan administrator’s interpretation of plan provisions

which results in a reduction of benefits.” Kirkendall, 2011 WL 2360058, at *10.

Plaintiffs do not respond directly to this contention. See Dkt. 118-1 at 23-24 (citing

caselaw holding that administrator’s interpretation of plan reducing employee pension

benefits are de facto amendments subject to § 204(g)). In reaching this conclusion,

Judge Curtin surveyed applicable circuit caselaw holding that § 204(g)’s “protections . . .

apply only to actual amendments to the terms of a Plan, not to an interpretation of terms

[by a plan administrator] which amounts to a constructive amendment of the Plan.”

Kirkendall, 2011 WL 2360058, at *8 (citing caselaw). In Kirkendall, Judge Curtin

particularly relied on the reasoning of the opinion in Stewart v. Nat’l Shopmen Pension

Fund, 730 F.2d 1552 (D.C.Cir.), cert. denied, 469 U.S. 834 (1984), in which the court

stated that as it appears in § 204(g), “[T]he word ‘amendment’ is used as a word of

limitation. Congress did not state that any change would trigger the . . . provision[ ]; it

stated that any change by amendment would do so . . ..” Stewart, 730 F.2d at 1561

(italics in original). In Stewart, as quoted by Judge Curtin, the D.C. Court of Appeals

further stated that

       The plaintiffs' construction would stretch the term “amendment” nearly to
       the breaking point. Under their construction, reducing any benefits,
       authorized by the plan, of persons whose rights are vested, would constitute
       an “amendment.” While speculation regarding why Congress chooses
       specific language is not always fruitful, it should be noted that had Congress
       meant [Section 204(g)] to apply to “any reduction in benefits to vested
       participants,” it could easily have said so.
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Kirkendall, 2011 WL 2360058, at *9 (quoting Stewart, 730 F.2d at 1561) (italics in original

and citing Dooley v. American Airlines, Inc., 797 F.2d 1447, 1451-52 (7th Cir. 1986))

(applying Stewart’s “common sensical rule of law” to find plan fiduciaries’ “valid exercise

of a provision which was already firmly ensconced in the pension document” did not

amount to amendment of the plan in violation of Section 204(g) and citing caselaw)).

        Here, the provisions of the Plan upon which Plaintiffs rely for their First Claim are

found in Art. V Sec. 1(d) (Dkt. 99-2 at 19-20) (“Any employee who retires on or after

June 1, 1998 . . ..”)7 under which Plaintiffs qualified under the Rule of 85 (age 55 plus

30 years of service) for a Special Early Retirement pension which was also subject to

later suspension under Art. V Sec. 3(a) in the event of any subsequent employment by

the retiree “(A) in an industry covered by the Plan . . ., (B) in the geographic area

covered by the Plan . . ., and (C) in any occupation in which the Participant worked

under the Plan . . ..” Dkt. 99-2 at 22 (defined as “Disqualifying Employment”). Such

restrictions on post-retirement Disqualifying Employment were included in the Plan,

originally adopted May 1, 1999, and restated on March 28, 2002, effective as of May 1,

2002 to include subsequent amendments. Dkt. 99-2 at 3, 54. The Plan was

subsequently restated, on December 16, 2009, effective May 1, 2009, Dkt. 99-3 at 2,

65, incorporating amendments adopted since the 2003 Restatement and adopting a

different section decimal-based number system, but retaining the same language

authorizing Special Early Retirement pensions of Art. V Sec. 1(d).8 Thus, as with the



7
  Unless otherwise indicated all underlining is added.
8
   Plaintiffs state that inasmuch as all Plaintiffs, except Metzgar who “retired” under the 2009 Restated
Plan, “retired” under the 2002 Restated Plan with “virtually identical language,” with the 2001 Restated
Plan for ease of reference, reference should be to the 2002 Restated Plan. Dkt. 118-1 at 10 n. 8.
Accordingly, the court’s references are to the 2002 Restated Plan.
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provision in question in Stewart, these provisions were equally well-ensconced, see

Dooley, 797 F.2d at 1451-52, in the Plan document when Plaintiffs applied for their

Special Early Retirement pensions commencing in 2002 with Plaintiff Ronald Reagan.

       As noted, Facts, supra, at 6, an exception in the Plan to the prohibition on

continued employment with a contributing employer following the Plan’s approval of

Plaintiffs’ retirement pensions provided that “employment in a managerial position,

project manager, or estimator for an Employer shall not be deemed ‘Disqualifying

Employment.’” Significantly, nothing in the text of Art. V Sec. 1(d) (“Any employee who

retires . . ..”) indicates that the term “retires” includes any expectation the employee

intends to continue employment with a contributing employer in any form of employment

whether such future employment is subject to suspension of pension benefits under Art.

V Sec. 3(a) or not. As stated in Defendants’ 2011 Determination, see, e.g., Dkt. 99-13

at 3, Dkt. 99-14 at 2, because Plaintiffs, upon commencing their Special Early

Retirement pensions, continued to work for a participating employer, albeit in non-

Disqualifying Employment that did not require suspension of a pension under the terms

of the Plan, Defendants’ action to suspend Plaintiffs’ pensions in order to assure the

Plan’s compliance with § 401(a) and preserve the Plan’s tax-exempt status, was an

administrative interpretation of existing Plan language, specifically, the phrase “[a]ny

employee who retires . . ..” Art. V Sec. 1(d) (“Any employee who retires . . ..”) to include

§ 401(a)’s required permanent severance of any form of employment service after

retirement to support distribution of an early retirement benefit, and is therefore not an

amendment to the Plan necessary to support an action pursuant to § 204(g).

Significantly, as the terms “retire” or “retirement” were not defined by the Plan, Dkt. 101-

2 ¶ 30 (“The Plan does not define the term ‘retire’”) and a perusal of the Plan yields no
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definition of the term “retirement;” see also Dkt. 118-1 (Plaintiffs’ Memorandum of Law

in Opposition to Defendants’ Motion for Summary Judgment) at 10 (“[T]he terms of the

Plan in effect at the time that each Plaintiff qualified for early retirement do not explicitly

define ‘retirement’”). Defendants’ 2011 Determination therefore did not alter an existing

term of the Plan nor did it add any provision to the Plan; rather, it construed and applied

the relevant terms so as to comply with previously existing and applicable Internal

Revenue Code requirements, specifically § 401(a). In sum, Defendants’ prior

understanding of the term “retires” and “retirement” as used in the Plan to allow for

continued employment by an employee upon receiving an early retirement pension was

legally erroneous, and its correction in Defendants’ December 2011 Determination did

not effect an amendment to an existing term of the Plan within the scope of § 204(g).

       As noted, the Second Circuit’s decision affirmed the District Court’s dismissal of

plaintiff’s § 204(g) claim in Kirkendall, see Kirkendall, 707 F.3d at 184, although

recognizing the existence of other judicial interpretations of the term “amendment” as

used in § 204(g) to include “an erroneous interpretation of a plan provision that results

in the improper denial of benefits to a plan participant may be construed as a

‘amendment’ for purposes of ERISA § 204(g),” Kirkendall, 707 F.3d at 182-83 (quoting

Hein v. FDIC, 88 F.3d 210, 216 (3d Cir. 1996) and Treas. Reg. § 1.411(d)-4, A-7

(stating that a plan allowing an employer to deny a protected benefit by the exercise of

administrative discretion violates Internal Revenue Code § 411(d)(6) a provision similar

to § 204(g)); see also Hunter v. Caliber System, Inc., 220 F.3d 702, 712 (6th Cir. 2000)

(“‘erroneous interpretation of a plan provision that results in the improper denial of

benefits to a plan participant may be construed as an ‘amendment’ for purposes of

ERISA § 204(g)’”) (underlining added) (quoting Hein, 88 F.3d at 216)). See also
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Cottillion v. United Refining Co., 2013 WL 1419705, at *9 (W.D.Pa. Apr. 8, 2013)

(erroneous reinterpretation to correct calculation of monthly pension payment using

actuarial method for early retirement pensions previously awarded without such

actuarial computation with a resultant reduction in the amount of the monthly pension

payment constituted an “implicit” plan amendment for § 204(g) purposes), aff’d, 781

F.3d 47, 58 (3d Cir. 2015) (citing Hein, 88 F.3d at 216). Nevertheless, despite such

conflicting views concerning the meaning and scope of the term “amendment” as used

in § 204(g), the Second Circuit in Kirkendall found no need to resolve such conflicting

opinions on this threshold issue because the court found plaintiff’s claim in that case

was based on an alleged miscalculation of benefits, not an administrative

reinterpretation of any terms of the plan itself potentially constituting an informal

amendment of the plan as Plaintiffs assert here. See Kirkendall, 707 F.3d at 184. In

Kirkendall the court therefore stated it would “leave for another day the question of

whether a constructive amendment [as found in Hein] can trigger the requirements of §

204(g).” Id. Based on the undersigned’s research, that day has not arrived and this

court accordingly finds that Judge Curtin’s holding in Kirkendall that ‘constructive’

amendments based on alleged erroneous administrative determinations under a plan as

found by the Third Circuit in Hein, supra, and the Sixth Circuit in Hunter, supra, to be

sufficient to support a § 204(g) claim, and are not plan amendments subject to relief

under § 204(g), represents controlling law on the issue in this Circuit. Significantly,

Plaintiffs cite to no Second Circuit or district court decisions within the Second Circuit

reaching a contrary result. As such, Defendants’ 2011 Determination suspending

Plaintiffs’ pensions unless Plaintiffs forgo continued employment with their former

employers before reaching age 65, is not an amendment to the Plan subject to review
                                              24
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under § 204(g), and Defendants’ motion for summary judgment on Plaintiffs’ First Claim

(Dkt. 98) should therefore be GRANTED and Plaintiffs’ motion on this claim (Dkt 101)

should be DENIED.


              2.     Defendants’ 2011 Determination Resulting in a Suspension of
                     Plaintiffs’ Pensions and Loss of Plaintiffs’ Employment Income Was
                     Not a De Facto Plan Amendment Subject to § 204(g).

       Plaintiffs’ contend that while Defendants suspended Plaintiffs’ pensions based on

Defendants’ 2011 Determination prior to the formal amendments to the Plan adopted in

February 2012, Defendants’ administrative action nevertheless constituted a de facto

plan amendment reducing Plaintiffs’ accrued benefits and, as such, is actionable under

§ 204(g). Dkt. 118-1 at 24-25 (citing Deschamps v. Bridgestone Americas, Inc. Salaried

Employees Ret. Plan, 169 F.Supp.3d 735, 751 (M.D.Tenn. 2015), aff’d, 840 F.3d 267

(6th Cir. 2016); DiCioccio v. Duquesne Light Co., 911 F.Supp. 880, 899 (W.D.Pa. 1995);

Hein v. F.D.I.C., 88 F.3d 210, 216 (3d Cir. 1996) and Hadden v. Consol. Edison Co. of

N.Y., Inc., 312 N.E.2d 445, 448 (N.Y. 1974)). In these cases, an administrator’s

“reinterpretation of plan language,” Deschamps, 169 F.Supp.3d at 751, to exclude

plaintiff’s occupation of maintenance manager from coverage in defendants’ pension

plan, despite evidence that defendants had considered plaintiff’s job title as one within

the plan for 16 years prior to defendants’ later attempt to exclude plaintiff’s job, which

earlier inclusion defendants claimed was a “clerical mistake,” id., was held to be an

“amendment” within the meaning of § 204(g). In affirming the district court’s finding

defendants’ reinterpretation of the plan to exclude plaintiff’s job title from plan coverage

to correct an alleged clerical error was a de facto amendment for § 204(g) purposes, the

Sixth Circuit Court of Appeals held that such later administrator’s interpretation

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constituted a plan amendment for purposes of § 204(g) where the original interpretation

including plaintiff’s position within the coverage of plan was not “untenable” based on

the actual language of the plan describing the specific job classification, supervisor,

under which plaintiff had been considered to be a covered employee. Deschamps, 840

F.3d 267, 280 (6th Cir. 2016). Likewise, in DiCioccio, the court found defendant’s

attempt to exclude employee income realized from the employees’ exercise of stock

options, which the employer had granted on a one-time basis, from employees’

compensation upon which employees’ pensions were to be calculated under the plan, to

constitute a de facto amendment despite defendants’ position that defendants’ plan

sponsor never intended such extra incentive income to be considered within the plan’s

definition of compensation for pension plan purposes when granting the stock options

as a one-time boost to employees’ compensation to enhance employee morale, and

that including the income represented “a mistake in practice which had inadvertently

‘developed’” which the administrator’s discretionary interpretation, although after the

fact, was intended to correct. DiCioccio, 911 F.Supp.3d at 895. In reaching its

conclusion, the court relied on the past practice of several of the employer’s senior

human resource and employee benefits managers who had previously considered the

stock option income to be within the plan’s definition of compensation. Id. at 899. In

Hein, the court stated that “[a]n erroneous interpretation of a plan provision that results

in the improper denial of benefits to a plan participant may be construed as “an

amendment” for the purposes of ERISA § 204(g).” 88 F.3d at 216. In Hein, the court

reversed the district court’s award of early retirement benefits for plaintiff under § 204(g)

despite the fact that plaintiff had not attained age 55 as required by the plan prior to his

termination from his original employer, a bank, which had resulted from his employer’s
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take-over by defendant, the F.D.I.C., and subsequent asset sale to an unrelated bank.

In Hadden, the court held that defendant’s post-retirement interpretation of defendant’s

pension plan to cancel retroactively plaintiff’s pension based on plaintiff’s pre-retirement

criminal misconduct was without support in any existing provision of the plan at the time

of plaintiff’s retirement and constituted an unauthorized amendment.9 Thus, whether a

subsequent administrative interpretation of a plan intended to overcome an alleged prior

mistaken or erroneous interpretation by the plan administrator resulting in an approval

of pension benefits constitutes a de facto plan amendment for § 204(g) purposes

depends on whether the initial interpretation or practice which approved the benefit to

which the subsequent corrective interpretation is directed, was reasonable or tenable

based on the existing provisions of the plan when the benefits at issue were approved.

See Deschamps, 840 F.3d at 280 (finding that defendant’s determination that plaintiff’s

position was included in definition of a pension eligible occupation was not “untenable . .

. under the language of the Plan.”) (citing Redd v. Bhd. of Maint. Way Emps. Div. of Int’l

Bhd. of Teamsters, 2010 WL 1286653, at *8 (E.D. Mich. Mar. 31, 2010). As the court of

appeals in Deschamps stated, “Redd further concluded that to succeed on a [§ 204(g)]

claim, plaintiffs must establish that the benefits they received prior to the alleged

amendment were based on a ‘tenable’ or ‘permissible reading of the terms of the Plan.’”

Deschamps, 840 F.3d at 280 (quoting Redd, 2010 WL 1286653, at **9-10). See also

Cottillion, 781 F.3d at 57-58 (plan administrator’s later attempt to interpret plan to

require actuarial computation of plaintiff’s early retirement pension as allegedly required

by federal tax law constituted an informal plan amendment actionable under § 204(g)


9
   Hadden, decided May 1, 1974, is of limited authority as it is a state court decision issued based on
state contract law, now pre-empted by ERISA, see 29 U.S.C. § 1144(a), following its enactment effective
September 2, 1974.
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when plan language at time of plaintiff’s retirement provided no indication that actuarial-

based reduction in early retirement pension was required).

       Whether the plan administrator’s award of benefits was based on such a

“tenable” or “permissible” reading of the plan will be reviewed under an arbitrary or

capricious standard. Redd, 2010 WL 128665, at *10. Where, as here, the Trust grants

discretionary authority to the Defendant Trustees, a plan’s fiduciary’s decision such as

in this case made by Defendants, may be judicially voided as arbitrary or capricious or

contrary to law, “only if it was ‘without reason, unsupported by substantial evidence or

erroneous as a matter of law.’” Pagan v. NYNEX Pension Plan, 52 F.3d 438, 442 (2d

Cir. 1995) (quoting Abnathya v. Hoffman-La Roche, Inc., 2 F.3d 40, 45 (2d Cir. 1993),

abrogated on other grds by Metro. Life Ins. Co. v. Glenn, 554 U.S. 105 (2008)). “This

standard is highly ‘differential,’ and ‘the scope of judicial review is narrow.’” Roganti v.

Metropolitan Life Ins. Co., 786 F.3d 201, 210-11 (2d Cir. 2015) (quoting Celardo v. GNY

Auto. Dealers Health & Welfare Trust, 318 F.3d 142, 146 (2d Cir. 2003)). In this case,

Defendants’ prior practice of approving Special Early Retirement pensions where

recipient employees intended to continue employment was based on a fundamental

misunderstanding of Internal Revenue Code requirements applicable to tax-exempt

pension trusts, for such early retirement pensions and therefore was not “tenable” or

“permissible” under the relevant provisions of the Plan at the time of such approvals

such that Defendants’ misunderstanding resulted in an improper distribution of pension

benefits thereby jeopardizing the tax-exempt status of the Fund. Thus, Defendants’

reinterpretation or corrective interpretation of the Plan by Defendants’ 2011

Determination to require the suspension of Plaintiffs’ Special Early Retirement pensions

or termination of Plaintiffs’ non-Disqualifying Employment in order to fully comply with §
                                              28
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401(a) was not the result of an arbitrary or capricious decision, and Defendants’

subsequent interpretation of the relevant provisions of the Plan requiring Plaintiffs forgo

such continued employment or suffer suspension of Plaintiffs’ pension payments

therefore did not constitute a de facto amendment of the Plan.

       First, as trustees, Defendants are required by the explicit terms of the Trust to

comply with ERISA and the Internal Revenue Code so that “the Trust and Plan of

Benefits . . . will be structured and operated to qualify for approval by the Internal

Revenue Service as a tax-exempt Trust and Plan to ensure that the Employer

contributions to the Fund are proper deductions for income tax purposes . . .. It is the

intention of the Trustees to fully comply with all requirements of the Internal Revenue

Code.” Trust Art. VII, Section 4 (Dkt. 99-1 at 29). Under ERISA, ERISA pension funds

like the Fund in this case are to be administered under “the common law of trusts to

define the general scope of their authority and responsibility.” Central States, Southeast

and Southwest Areas Pension Fund v. Central Transport, Inc., 472 U.S. 559, 570

(1985). ERISA requires a plan fiduciary to “discharge [their] duties with respect to a

plan solely in the interest of the participants and beneficiaries . . . for the sole purpose of

providing benefits to participants . . . ..” 28 U.S.C. § 1105(a)(1)(A). It is basic that the

duty of a trustee is “to administer the trust, diligently and in good faith, in accordance

with the terms of the trust and applicable law.” Restatement (Third) Trusts § 76(A)

(2007). Moreover, a fiduciary plan administrator “is [not] precluded from reconsidering

an award of benefits to correct its own error, so long as the plan administrator

specifically justifies the change as the correction of an earlier mistake and the record

supports that decision.” Serbanic v. Harleysville Life Ins. Co., 325 Fed.Appx. 86, 91 (3d

Cir. Apr. 30, 2009); see also Oster v. Barco of California Employees’ Retirement Plan,
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869 F.2d 1215, 1219 (9th Cir. 1988) (no abuse of discretion where “[t]he Committee’s

decision to modify its policy appears to be reasonable”).

       In this case, Plaintiffs applied for Special Early Retirement pensions under Art. V

Sec. 1(d) of the Plan which states in relevant part that “any employee who retires . . .

after his fifty-fifth (55th) birthday and whose combined age and years of Special Service

shall equal eighty-five (85) or more, shall be entitled to a monthly pension equal to his

Accrued Benefit on the date he makes application for Special Early Retirement.” Dkt.

99-2 at 19. The Accrued Benefit under the Plan is the monthly benefit payable to the

employee at age 65 calculated in accordance with Art. V Sec. 1(a). Dkt. 99-2 at 15; Art.

1 Sec. 1 (Dkt. 99-2 at 4). Art. V Sec. 1(a) refers to the vested participants who may

“retire” on or after age 65. Dkt. 99-2 at 16. This provision also provides that

“retirements” at age 65 which occur after May 1, 2000, receive “a monthly pension

payable over his [the employee’s] lifetime” calculated in accordance with that section.

Dkt. 99-2 at 16. As noted, the terms “retire” and “retirement” are not defined by the

Plan. See Discussion, supra, at 7, 22. It is also undisputed that Plaintiffs intended to

continue to be employed with their respective employers albeit in occupations that

would not subject Plaintiffs to a suspension of pension benefits under Art. V Sec. 3 (Dkt.

99-2 at 22) for Disqualifying Employment. Further, nothing in Art. V Sec. 1(d) defines

an employee’s eligibility for the Special Early Retirement pension with reference to

whether the employee intends to engage in non-Disqualifying Employment such as

those occupations in which Plaintiffs intended to be employed when Plaintiffs applied for

the Special Early Retirement pensions and in fact were employed upon receiving their

pensions. In approving Plaintiffs’ pensions without regard to whether Plaintiffs

continued to be employed in non-Disqualifying Employment, Defendants acted in the
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mistaken belief that such distributions were permissible under § 401(a) and would not

impair the tax-exempt status of the Plan as non-compliant distributions.10 As such, if

Defendants’ prior interpretation of the Plan and past practice in approving Plaintiffs’

pensions in relation to the requirements of § 401(a), knowing Plaintiffs intended to

engage in continuing employment with a participating employer, thereby placed the

Fund in violation of the Internal Revenue Code jeopardizing the Fund’s tax-exempt

status in violation of the specific provisions of the Trust requiring Defendants to operate

the Fund and Plan so as to assure such compliance and the Fund’s future tax-exempt

status was not “tenable” or “permissible,” Deschamps, 840 F.3d at 280, Defendants’

subsequent interpretation in 2011 represented by Defendants’ 2011 Determination to

bring the Plan into compliance with § 401(a), if reasonable, does not constitute a de

facto amendment to the Plan subject to § 204(g). A brief overview of the requirements

of § 401(a), applicable I.R.S. regulations, rulings, and relevant caselaw demonstrates

Defendants’ prior misunderstanding of § 401(a)’s requirements as applied to

Defendants’ administration of the Special Early Retirement pension benefit and

approval of Plaintiffs’ pensions under the Plan was not reasonable or tenable, and that

Defendants’ 2011 reinterpretation and corrective actions were not arbitrary or

capricious.

        26 U.S.C. § 401(a) (“§ 401(a)”), enacted as part of the Internal Revenue Code of

1954, authorizes and states the requirements for tax-exempt trusts created for the



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    There are several adverse consequences of significance to employees and employers in the event a
pension plan’s tax-exempt status is revoked including the disallowance of deductions for the employer’s
contributions until the amount of its contributions are included in employees’ income, and payment of
taxes on a trust’s earning. See Dkt. 100 at 40 including I.R.S., TAX CONSEQUENCES OF PLAN
DISQUALIFICATION (2018), http://www.irs.gov/retirement-plans/tax-consequences-of-plan-disqualification,
last visited March 28, 2019.
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exclusive purpose of providing pension and other benefits for retired employees. 26

C.F.R. § 1.401-1(a)(2)(i) (“§ 1.401-1(_)”) states that § 401(a) “prescribes the

requirements which must be met for qualification [as a tax-exempt entity] of a trust

forming part of a pension . . . plan.” As relevant, Treasury Regulation § 1.401-1(b)(1)(i)

further states that

       “A pension plan within the meaning of Section 401(a) is a plan established
       and maintained by an employer primarily to provide systematically for the
       payment of definitely determinable benefits to his employees over a period
       of years, usually for life, after retirement.

26 C.F.R. § 1-401-1(b).

Section 401(a) therefore further requires a distribution of pension benefits to employees

to begin not later than at age 70½ or the calendar year when the employee “retires.” §

401(a)(9)(A)(i); § 401(a)(9)(C)(i)(II).

       Additionally, 26 C.F.R. § 1.410(a)-7(b)(2) provides that the term “severance from

service” is the date “on which the employee quits, retires, is discharged or dies,” or

“remains absent from service.” 26 C.F.R. § 1.410(a)-7(b)(6) provides that an

employee’s “period of service” is the “period of service commencing on the employee’s

employment . . .” “ending on the severance from service date.” 26 C.F.R. 1.409A-

1(h)(1)(i) states in relevant part “[a]n employee separates from service with the

employer if the employee . . . retires, or otherwise has a termination of employment with

the employer.” Section 1.409A-1(h)(1)(ii) provides as relevant

       whether a termination of employment has occurred is determined based on
       whether the facts and circumstances indicate that the employer and
       employee reasonably anticipated that no further services would be
       performed after a certain date . . ..




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Thus, I.R.S. regulations which define the requirements for administration of a tax-

exempt trust under § 401(a) make clear that a qualified pension trust shall begin

pension payments upon an employee’s retirement and that such retirement occurs

when the employee terminates his or her employment with an employer with the

expectation that no further services will be performed by the employee for the employer.

       I.R.S. rulings also make clear that a pension trust established under § 401(a)

may not distribute benefits and retain its tax-exempt status if pension benefits are

distributed to employees prior to severance of employment. See Rev. Ruling 74-254,

1974-1 C.B.91 (qualified pension plan under § 401(a) may not permit distributions “prior

to termination of employment”); Rev. Ruling 71-437, 1971-2 C.B.185 (“A pension plan

does not qualify [for tax-exempt status] under § 401(a) if it permits distributions of the

employer’s contributions or increments therein prior to severance of employment . . ..”);

see also I.R.S. Notice 07-69, 2007-35 C.B. 468 (“[A]n early retirement benefit is

generally only permitted to commence with an annuity starting date that is after

severance from employment (except to the extent permitted under § 401(a)(36) . . ..),

2007 WL 2285348, at *6. Moreover, in the case of early retirement, i.e., in this case

prior to age 65, § 401(a)(36), enacted in 2006, permits an employee to receive an early

retirement pension from a tax-exempt pension trust at age 62 where the employee

intends to continue working if the trust elects to grant such an early retirement pension.

Thus, by necessary implication, § 401(a)(36) recognizes that early retirements such as

those received by Plaintiffs where the employee intends to engage in employment after

retiring are permissible only at age 62 and not, as here, at age 55. In this case, the

Plan has not adopted § 401(a)(36) and established age 65 as the Normal Retirement

Date. Plan Art. I(23) (Dkt. 99-2 at 10); Art. I(34) (Dkt. 99-2). As noted, Facts, supra, at
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7-9, it is undisputed that each Plaintiff, at the time such Plaintiff applied for his Special

Early Retirement pension, had an understanding with Plaintiff’s then current employer

that Plaintiff would continue employment after the date of Plaintiff’s retirement albeit in a

job title that would not be subject to a suspension of Plaintiff’s pension under Art. V Sec.

3(a), i.e., in non-Disqualifying Employment. As is evident from the applicable I.R.S.

regulations, rulings, and notice such an intention is contrary to the requirements for a

valid retirement compliant with § 401(a). The prerequisite to a valid retirement under §

401(a) that the employee intends to sever all further employment also furthers

congressional policy of assuring that distributions from tax-exempt pension trusts be for

the purpose of supporting retirement and not other purposes such as estate or income

enhancements. “The Code [§ 401(a)] attempts to ensure that those funds that have

been accumulated with the aid of the loss of tax revenue associated with tax deferral

are in fact actually used for retirement purposes and not for estate or other purposes.”

Pamela D. Perdue, Esq., The Ins and Outs of Retirement Plan Distributions, TAXES –

THE TAX MAGAZINE, Feb. 2009 at 63.

       Additionally, in a Private Letter Ruling issued Nov. 25, 2011, I.R.S. Priv. Ltr. Rul.

201147033, 2011 WL 5893533 (Nov. 25, 2011) (“the PLR”) (Dkt. 100 at 32), in applying

the applicable regulations and judicial definitions of the term “retirement” as it is used in

§ 401(a), the I.R.S. stated unequivocally that “if both the employer and employee know

at the time of ‘retirement’ that the employee, with reasonable certainty, continues to

perform services for the employer, a termination of employment has not occurred upon

‘retirement’ and the employee has not legitimately retired [for purposes of § 401(a)].”

Dkt. 100 at 36 (citing Meredith v. Allsteel, Inc., 11 F.3d 1354, 58 (7th Cir. 1993) (“In

common parlance, retire means to leave employment after a period of service.” (citing
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Webster’s Ninth New Collegiate Dictionary 1007 (1986) (to retire is “to withdraw from

one’s position or occupation: to conclude one’s working or professional career.”))). In

the PLR the I.R.S. concluded that where, as here, employees applying for early

retirement pension benefits “would not actually separate from service and cease

performing services for the employer when they ‘retire’ these ‘retirements’ would not

constitute a legitimate basis to allow participants to qualify for early retirement benefits”

and “will violate section 401(a) of the [Internal Revenue] Code and will result in

disqualification of the Plan under section 401(a) of the Code.” Dkt. 100 at 37

(underlining and bracketing added). Thus, as originally drafted and administered, the

Plan permitted Special Early Retirement pensions to be awarded to employees

including Plaintiffs who intended to and in fact engaged in continued employment after

receiving such pensions as Fund distributions without having fully retired in violation of §

401(a) thereby placing the tax-exempt status of the Fund in jeopardy contrary to the

terms of the Trust and requirements of applicable tax and trust law. Such a remarkable

misunderstanding of § 401(a)’s requirement resulting in an erroneous interpretation of

the term “to retire” or “retirement” as used in Art. V Sec. 3 and improper distribution of

Plaintiffs’ pensions can hardly qualify as a “tenable” or “reasonable” interpretation of the

Plan.

        Plaintiffs contend that to the extent § 401(a) and I.R.S. regulations construing §

401(a) refer to an employee’s required retirement from employment, such employment

is limited to “covered employment” under the Plan, i.e., employment in the plumbing and

steamfitters trade for which employer contributions to the Plan are required, (citing Art. 1

Sec. 7) (Dkt. 99-2 at 6) (The term “Covered Employment” shall mean employment of an

Employee by a Contributing Employer”) and does not extend to non-Disqualifying
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Employment for which contributions to the Fund are not required thus, according to

Plaintiffs’ theory, Plaintiffs did retire consistent with § 401(a). Dkt. 118-1 at 15-16.

Plaintiffs point to ERISA, 29 U.S.C. § 1002(2)(A) (“§ 1002(2)(A)”) which defines a tax

qualified pension plan as one providing “(i) retirement income to employees or (ii)

results in deferral of income by employees for periods extending to the termination of

covered employment or beyond.” Id. However, the conclusion Plaintiffs draw from this,

viz. that “‘retirement’ in the context of a tax qualified pension plan does not mean that a

participant . . . must terminate all employment before receiving his pension, but, instead,

that he must simply terminate ‘covered employment,’ to wit, the work [through covered

employment] that accrues benefits under the plan,” id., does not follow. First, §

1002(2)(A), the purpose of which is to guide whether a give employment related benefit

is one protected by ERISA, see, e.g., Pasternack v. Shrader, 863 F.3d 162, 168-69 (2d

Cir. 2017) (under § 1002(2)(A) Stock Rights Plan not an “employee pension benefit

plan” subject to ERISA) does not carry the relevant legal effect as does § 401(a) as the

latter is the provision of the tax code which controls the availability of a tax exemption

for a pension trust, not § 1002(2)(A). Further, nothing in the text of § 401(a) recognizes

that the term “retirement” refers exclusively to a withdrawal from work in covered

employment as its prerequisite for a valid distribution of early retirement pension

payments. In fact, in submitting the VCP, Defendants included in its description of

Defendants’ error that in approving Plaintiffs’ Special Early Retirement pensions

Defendants erroneously believed that a withdrawal “from Covered Employment” by a

participant with an expectation that the employee would continue working in non-

covered employment was satisfactory compliance with applicable regulations,

specifically § 401(a)-(1)(b)(i) and § 1.410-1(i) “which require[ ] a separation from
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employment with all employers contributing to the Plan.” Dkt. 99-16 at 21. Significantly,

a careful reading of the I.R.S.’s acceptance of the VCP (“Compliance Statement” Dkt.

99-17 at 3, 8) indicates the I.R.S. found Defendants’ statements of tax code

requirements applicable to Defendants’ approval of Plaintiffs’ Special Early Retirement

pensions to represent a misunderstanding by Defendants of such requirements. See

Dkt. 99-17 (passim). Nor did the I.R.S. in its approval of the VCP’s statement of

Defendants’ “failures” and corrective action, i.e., requiring Plaintiffs desist in engaging in

Plaintiffs’ non-covered employment or suffer suspension of their pensions, to be based

on an erroneous understanding by Defendants of the basis for Defendants’ statement of

failures, i.e., non-compliance with § 401(a), and Defendants’ need for corrective action

to avoid any loss of the Fund’s tax-exempt status. Nor does the I.R.S.’s discussion of

the issue in the PLR indicate that whether an employee’s early retirement pension

violates § 401(a) turns on whether the employee terminates covered as opposed to

non-covered employment under a plan, as Plaintiffs assert, while at the same time

receiving a distribution of early retirement pension benefits.

       A similar argument was raised by plaintiff in Meakin v. California Field

Ironworkers Pension Trust, 2018 WL 405009, at *7 (N.D.Cal. Jan. 12, 2018) to support

a finding that plaintiff, who had received early retirement benefits while engaging in

continuing employment with a participating employer, had legitimately retired by moving

from covered to non-covered employment such that the plan was compliant with §

401(a). See Meakin, 2018 WL 405009, at *7. The court in Meakin rejected this

contention noting that given defendants’ fiduciary obligation to construe the plan so as

to preserve its tax-exempt status it was reasonable for defendants to conclude I.R.S.

requirements under § 401(a) could not be met based on such a distinction. Id.
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Significantly, here, in accepting Defendants’ interpretation of § 401(a) as elaborated in

the PLR, the I.R.S. had no objection to Defendants’ interpretation and corrective action

as constituting a violation of 26 U.S.C. § 411(d)(6), a provision “substantially identical”

to § 204(g).

       Plaintiffs’ reliance on Heinz (Dkt. 118-1 at 14), is misplaced. In Heinz, unlike in

this case, defendants had amended the plan after plaintiffs retired and continued work

in an occupation not previously included in disqualifying employment, to include such

employment as disqualifying and subjecting Plaintiffs’ early retirement pensions to

suspension, a new restriction on plaintiff’s accrued pension benefit the Supreme Court

held violated the anti-cut back rule. Heinz, 541 U.S. at 744-45. Here, unlike what

defendants did in Heinz, Defendants did not broaden the scope of non-disqualifying

employment to include that in which Plaintiffs were engaged. Rather, Defendants

determined that by Plaintiffs’ continued employment upon Plaintiffs’ putative early

retirements, Plaintiffs’ pensions, as approved by Defendants, violated § 401(a) and

therefore could not qualify as having legitimately accrued precluding suspension of

Plaintiffs’ pensions or termination of Plaintiffs’ post-retirement employment, an issue not

presented in Heinz. See Dkt. 118-1 at 14 n. 11 (noting that in Heinz neither party nor

I.R.S. asserted plaintiffs “never actually retired because [they] did not have a permanent

intention to never perform any kind of work for a contributing employer again”).

Specifically, in Heinz, the question present on certiorari was “whether a pension plan

amendment that is authorized by ERISA Section 203(a)(3)(B) is nonetheless prohibited

by Section 204(g) to the extent that it applies to previously accrued benefits.” 2004 WL

110581 (2004). Plaintiffs’ contention that approval of early retirement pensions, such as

those approved for Plaintiffs in the circumstances presented in this case, are permitted
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under § 401(a) provided the employees continue to work in non-covered employment as

defined in the Plan is therefore without merit.

       Two recent cases, addressing similar questions regarding a plan’s determination

that its early retirement pensions were improperly approved in violation of § 401(a), also

support this conclusion. In Meakin, 2018 WL 405009, at * 1 the plan permitted early

retirement pensions similar to that provided by the Plan in this case notwithstanding that

the employees continued to work in non-disqualifying occupations as permitted by the

Plan. Specifically, unlike the present case, the plan defined “retirement” to require the

employee’s complete severance from employment in the covered industry but exempted

employment in occupations, like the instant case, that were not covered by the

collective bargaining agreement. Meakin, 2018 WL 405009, at *2. However, like

Defendants in this case, in approximately 2011, the plan discovered that by approving

early retirement pensions where eligibility was based on the Rule of 85 and where the

employee nevertheless continued employment in the industry covered by the plan, the

plan was in violation of § 401(a). In Meakin, as in the instant case, the plan thereafter

filed a VCP with the I.R.S. disclosing the circumstances of this violation based on the

plan’s erroneous interpretation of § 401(a)’s requirements that early retirees cease any

further employment with employers in their industry which resulted in improper pension

distributions to 290 retirees including plaintiff since 1990. The I.R.S. subsequently

accepted the defendant’s VCP which proposed suspension of early retirement pensions

for 58 of the retired employees received after 2007 including plaintiff’s whose pension

was suspended in 2014. In rejecting plaintiff’s action brought pursuant to 28 U.S.C. §

1132(a)(1)(B) for benefit denial (plaintiff did not assert a claim pursuant to § 204(g)), the

court found defendants did not engage in an abuse of discretion in their reinterpretation
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of the plan, as governed by § 401(a), that early retirement must include a severance of

any further employment including in a non-disqualifying occupation as had been allowed

under the plan. Meakin, 2018 WL 405009, at **5-6. In support of its conclusion, the

court noted defendant trustees had a duty as fiduciaries to interpret and act to ensure

the plan complied with the Internal Revenue Code to protect the plan’s continued tax-

exemption under § 401(a). Id. Notably, the court in Meakin also cited the PLR, relied

upon by Defendants in this case, as evidence that the defendant’s determination that by

allowing payment of early pension benefits to employees who had continued to work in

their industry, albeit in non-disqualified occupations, defendants’ prior administration of

the plan was in violation of applicable tax law, was reasonable. Meakin, 2018 WL

405009, at *6. Specifically, the court held that defendants were required to interpret the

plan in a manner compliant with applicable law, specifically § 401(a) and related I.R.S.

regulations, so as to preserve the economic viability of the plan for future beneficiaries

rather than continue to pay illegal benefits to a few beneficiaries including plaintiff

thereby jeopardizing the tax-exempt status of the plan, and that such belated corrective

action was therefore reasonable providing no basis for a claim under § 1132(a)(1)(B)

seeking to recover wrongfully denied benefits.

       Similarly, in Maltese v. National Roofing Industry Pension Plan, 2016 WL

7191798, at *1 (N.D.W.Va Dec. 12, 2016) plaintiff applied for and received early

retirement benefits after defendant’s approval on May 1, 2012, at which time plaintiff

commenced work as an estimator for his former employer. Subsequently, defendant, in

2015, suspended plaintiff’s pension because by engaging in continued employment

plaintiff had not retired and that plaintiff’s receipt of early pension payments was in

violation of § 401(a) requiring defendant to take corrective action by suspending
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plaintiff’s pension payments in order to bring the plan into compliance with § 401(a)

thereby preserving the plan’s tax-exempt status. Maltese, 2016 WL 7191798, at *4.

The court therefore granted summary judgment to defendant on plaintiff’s ERISA claim11

alleging a wrongful denial of benefits based on its finding that defendant’s interpretation

of the plan which had excluded plaintiff’s continued employment from the plan’s

exemption from a suspension of early pension benefits for work by “a Pensioner” was

“reasonable and consistent with the goal of maintaining the Plan’s tax-exempt status

under § 401(a).” Id. In reaching its conclusion, the court in Maltese also relied, despite

its non-binding effect, upon the PLR in this case which, as discussed, Discussion,

supra, at 34, concluded that no valid retirement for § 401(a) purposes occurs where an

employee otherwise eligible for early retirement benefits after receiving approval of an

application for such benefits “will immediately return to service with the employer.” Id.

Thus, both Meakin and Maltese support the court’s conclusion in this case that the tax

implications of Defendants’ prior interpretation of the Plan, particularly Art V. Sec. 1(d)

regarding Plaintiffs’ eligibility under the Plan for Special Early Retirement pensions,

strongly support the reasonableness of such interpretation and, as such, in this case,

that Defendants’ corrective action through Defendants’ later interpretation as stated in

Defendants’ 2011 Determination and suspension of Plaintiffs’ benefits in order to

preserve the tax-exempt status of the Fund was not arbitrary or capricious.

          Plaintiffs’ assertion that by adopting the 2012 Amendments to the Plan to include

Defendants’ later reinterpretation demonstrates Defendants’ 2011 Determination is not

an “interpretation of the terms of the Plan,” Dkt. 118-1 at 4 n. 1, in that “Defendants




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     The court’s decision does not specify the basis of plaintiff’s ERISA claim.
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actually changed them” is incorrect. As the relevant terms “to retire” and “retirement”

had no previous definition in the Plan, Defendants’ action in both Defendants’ 2011

Determination and the February 2012 Amendments to conform Defendants’ prior

interpretation and practice to the requirements of § 401(a) effected no change in any

previously existing term of the Plan under which Plaintiffs had sought to retire.

Accordingly, Defendants’ actions as challenged by Plaintiffs did not constitute a de facto

amendment of the Plan subject to § 204(g).

       Defendants contend that by requiring Plaintiffs terminate all employment to

qualify for a Special Early Retirement pension Defendants did not impose a new Plan

condition. See Dkt. 116 at 11 (citing to Plan Art. V Sec. 2(c) which states that benefits

shall commence no later than the 60th day after the “Employee terminates service with

all of the participating Employers.”). However, as Plaintiffs point out, Dkt. 118-1 at 12,

this section is directed to protecting an employee’s right to eventually receive benefits to

which the employee is entitled under a plan and replicates the requirements stated in

ERISA, 29 U.S.C. § 1056(a)(1)-(3) (“§ 1056(a)(1)-(3)”), that unless an employee elects

otherwise benefits shall not begin later than the sixtieth (60th) day after the “last of the

following occurs:

       (a)    The Employee attains Normal Retirement Date;

       (b)    The occurrence of the tenth (10th) anniversary of the Plan Year in which

the employee commenced participation in the Plan;

       or

       (c)    The Employee terminates service with all of the participating Employers.

Thus, this provision cannot be fairly read to require an employee who otherwise was

eligible for a Special Early Retirement to also terminate all further employment with
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participating employers. Section 1056(a)(1)-(3) simply “protects a participant’s right to

receive benefits by establishing . . . the latest possible trigger for payment” under a plan.

Morales v. Plaxall, Inc., 541 F.Supp 1387, 1390 (E.D.N.Y. 1982). Indeed, nothing in the

record remotely suggests that such was ever Defendants’ understanding of this

provision, and, significantly, Plan Art. V Sec. 1(d), Dkt. 99-2 at 19-20, which defines

eligibility for a Special Early Retirement pension makes no reference to it. Accordingly,

Art. V Sec. 2(c) does not, contrary to Defendants’ assertion, establish that Plaintiffs

were always required by the terms of the Plan to terminate all employment to receive a

Special Early Retirement pension without Defendants’ reliance on a more correct

application of the requirement of § 401(a) that an early retirement, one prior to age 65,

except for plans subject to § 401(a)(36) allowing for early retirement at age 62 with

continued service, retirement requires a complete severance of an employee’s further

employment with a participating employer. See Smith v. United States, 508 U.S. 223,

233 (1993) (“[j]ust as a single word cannot be read in isolation, nor can a single

provision of a statute [or plan].”)

       Plaintiffs contend that Defendants’ rationale for Defendants’ reinterpretation is

based on an error by Defendants on a question of law, i.e., Defendants’ understanding

of the requirements of § 401(a), and therefore is to be reviewed de novo and not under

the deferential arbitrary and capricious standard applicable to discretionary

determinations by ERISA plan fiduciaries. Dkt. 118-1 at 3-7 (citing caselaw and

referencing Defendants’ characterization of Defendants’ approval of Plaintiffs’ Special

Early Retirement pensions where Defendants were aware of Plaintiffs’ intent to

nevertheless continue employment in non-Disqualifying Employment as “contrary to the

law,” Dkt. 118-1 at 4, and that Defendants’ approvals were based on a “mistake of law”
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(referencing Defendants’ VCP application, Dkt. 101-6 at 21)). See Montesano v. Xerox

Corp. Retirement Income Guarantee Plan, 117 F.Supp.2d 147, 158 (D.Conn. 2000)

(where plan “administrator’s decision turned on a legal interpretation [of a statute or

regulation] . . . de novo review required) (citing caselaw), aff’d in relevant part, 256 F.3d

86 (2d Cir. 2001). However, other than asserting Defendants’ reliance on the PLR was

not permitted under 26 U.S.C. § 6710(k)(3), and attempting to distinguish Rev. Rulings

71-437 and 74-255, Dkt. 118-1 at 17 n. 14, as not involving an issue of retirement,

Plaintiffs also rely on ERISA-based regulations which are not controlling on whether

under § 401(a) Plaintiffs’ pensions were improperly approved. Plaintiffs cite no caselaw

indicating otherwise and the court’s research reveals no such contrary authority.

Further, Plaintiffs point to no judicial decisions which plausibly support that Defendants’

rationale for Defendants’ 2011 Determination and subsequent corrective actions as

detailed in the VCP were legally erroneous and thus unnecessary because Defendants’

approvals of Plaintiffs’ pensions were, contrary to Defendants’ stated failures in the VCP

as approved by the I.R.S., compliant with § 401(a) and thus not based on a “mistake of

law” or other actions prohibited by § 401(a) as Defendants contend. Because neither

I.R.S. revenue rulings nor private letter rulings are regulations promulgated after public

notice and comment, and sometimes are self-serving when issued by the I.R.S. in

preparation to litigate so as to bolster its position in the ensuing litigation, such

pronouncements are not entitled to Chevron12 deference by the courts but, rather, are

“‘entitled to respect’ only to the extent it has ‘the power to persuade,’” Laurent v.

PricewaterhouseCoopers LLP, 794 F.3d 272, 287 (2d Cir. 2015) (quoting Christensen v.




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     Chevron U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 842-44 (1984).
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Harris Cty., 529 U.S. 576, 587 (2000)), and provided such interpretation is not

“inconsistent with the statute’s plain meaning. . . .” Id. (citing Gen. Dynamics Land Sys.

v. Cline, 540 U.S. 581, 600 (2004) (“[D]eference to [an agency’s] statutory interpretation

is called for only when the devices of judicial construction have been tried and found to

yield no clear sense of congressional intent.”)). See also Taproot Administrative

Services, Inc. v. Comm’r, 133 T.C. 202, 209, n. 16 (2009) (noting various types of I.R.S.

pronouncements are entitled to differing levels of deference, but that Skidmore13

deference, the lowest level, has continued viability and applies to I.R.S.

pronouncements other than regulations). Given that the purpose of § 401(a) is to

assure that tax-exempt pension trusts shall function for the sole purpose of providing

retirement income and not for other financial purposes such as income enhancements

and estate creation, see Discussion, supra, at 34 (quoting Pamela D. Perdue, Esq., The

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at 63) the relevant I.R.S. regulations, rulings and the PLR requiring an early retirement

applicant to forgo continued employment with a participating employer cannot be said to

be inconsistent with § 401(a) and Plaintiffs offer no reason to find otherwise.

Significantly, other decisions which have addressed this issue, Meakin and Maltese,

have also concluded the I.R.S.’s regulations, rulings as well as the PLR represent a

legally correct analysis of the question. The court therefore finds such regulations,

rulings and the PLR are entitled to persuasive effect and that Defendants committed no

legal error in seeking to conform Plaintiffs’ pensions to § 401(a)’s requirements. See

Maltese, 2016 WL7191798, at *4 (“while non-binding, the I.R.S.’s analysis and




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     Skidmore v. Swift, 323 U.S. 134, 140 (1944).
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interpretation of § 401(a) [in the PLR] and its relevant regulations is persuasive”). Thus,

even under the de novo standard of review Plaintiffs fail to demonstrate Defendants

committed an error of law and wrongfully suspended Plaintiffs’ pensions and

conditioned any restoration of Plaintiffs’ pension payments upon Plaintiffs’ termination of

their employment as did Plaintiffs Puglia and Noble (Plaintiff O’Callaghan initially

continued with his employment but later stopped working and had his pension payments

restored).

              3.     Plaintiffs’ Special Early Retirement Pensions Were Not An Accrued
                     Benefit Under The Plan.

       For purposes of a claim pursuant to § 204(g) whether an early retirement

beneficiary suffered a reduction in an “accrued benefit” is “determined under the Plan.”

Central Laborers’ Pension Fund v. Heinz, 541 U.S. 739, 744 (2004) (quoting 29 U.S.C.

§ 1002(23)(A)). Here, Art. I Sec. 1 of the Plan defines “Accrued Benefit” as the monthly

benefit payable at Normal Retirement Date that the Employee has earned under Article

V . . ..” As noted, Facts, Discussion, supra, at 6, Article V of the Plan grants the Special

Early Retirement pensions to employees like Plaintiffs who reach age 55 with 30 years

of credited service in the same monthly amount as a retiree at age 65 would receive

under the Plan. Article V of the Plan grants the Special Early Retirement pension to

“[a]ny employee who retires.” Dkt. 99-2 at 19. In this case, as discussed, Discussion,

supra, at 24-45, because Plaintiffs continued to be employed by their former respective

employers, when Plaintiffs applied for their pensions between 2001-2009, Plaintiffs did

not “retire” under any definition of that term in the Plan as required by § 401(a), and

Defendants reasonably determined that Defendants’ approval of Plaintiffs’ pensions was

erroneous requiring Defendants suspend Plaintiffs’ pensions in order to bring the Plan

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into compliance with § 401(a) unless Plaintiffs ceased further employment with their

employers before reaching age 65. Thus, as Plaintiffs’ Special Early Retirement

pensions were improperly approved by Defendants in violation of § 401(a), such

pensions did not constitute a benefit that had accrued to Plaintiffs when Plaintiffs’

pensions were approved by Defendants. An ERISA plan benefit resulting from an

administrator’s misconstruction of the plan does not accrue to support a claim pursuant

to § 204(g). See Sims v. American Postal Workers Acc. Ben. Association, 2013 WL

4677723, at *6 (D.N.H. Aug. 30, 2013) (mistake by an administrator’s prior construction

of plan to allow use of employee’s “annualized” versus employee’s last year’s actual

annual compensation to determine plaintiff’s three highest years of compensation for

purposes of calculating plaintiff’s pension did not result in accrual of a pension benefit

under § 204(g) where plan had not been properly amended to authorize such

“annualized” final year compensation and existing plan language was inconsistent with

such annualized calculation), aff’d, No. 13-2246 (1st Cir. Aug. 6, 2014) (unpublished).

See also Wetzler v. Ill. CPA Soc. & Foundation Retirement Income Plan, 586 F.3d

1053, 1058 (7th Cir. 2009) (where plan amendment eliminated lump sum distribution as

optional form of pension benefit and administrator reasonably determined such option

would violate § 401(a) resulting in potential loss of plan’s tax-exempt status, preexisting

option lump sum payment to plaintiff did not constitute an accrued benefit for purposes

of § 204(g)); Hunter v. Caliber Systems, Inc., 220 F.3d 702, 713-14 (6th Cir. 2000)

(where plan reasonably determines plaintiffs not entitled to lump sum distribution as a

pension benefit would violate applicable I.R.S. regulations plan did not reduce an

accrued benefit actionable under § 204(g)). As explained, Discussion, supra, at 29, as

fiduciaries, Defendants were authorized to reconsider a prior award of benefits as
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improperly approved (citing Serbanic, 325 Fed.Appx. at 91; Oster, 869 F.2d at 1219).

Accordingly, because Plaintiffs’ Special Early Retirement pensions were improperly

approved, based on Defendants’ misunderstanding of § 401(a)’s requirement no such

benefit accrued to Plaintiffs and Plaintiffs did not suffer a reduction of “an accrued

benefit” by virtue of Defendants’ suspension of Plaintiffs’ pension or termination of

Plaintiffs’ continued employment within the scope of protection under § 204(g).

Defendants’ motion for summary judgment (Dkt. 98) should therefore be GRANTED on

this ground; Plaintiffs’ motion (Dkt. 101) should be DENIED.

       B.     Plaintiffs’ Second Claim.

       Plaintiffs’ Second Claim alleges, pursuant to ERISA 502(a)(1)(B), 29 U.S.C. §

1132(a)(1)(B), a denial of benefits under an ERISA plan, specifically Defendants

wrongful refusal to continue Plaintiffs’ Special Early Retirement pensions following

Defendants’ 2011 Determination to suspend such benefits in order to bring the Plan into

compliance with § 401(a) and avoid a likely loss of the Fund’s tax-exempt status.

ERISA § 502(a)(1)(B) authorizes a civil action by a plan participant or beneficiary to

“recover benefits due him under the terms of his plan . . ..” 29 U.S.C. § 1132(a)(1)(B).

“To prevail under § 502(a)(1)(B), a plaintiff must show that: (1) the plan is covered by

ERISA; (2) the plaintiff is a participant or beneficiary of the plan; and (3) the plaintiff was

wrongfully denied a benefit owed under the plan.” Guerrero v. FJC Security Services

Inc., 423 Fed.Appx. 14, 16 (2d Cir. 2011) (citing Giordano v. Thomson, 564 F.3d 163,

168 (2d Cir. 2009)). Under a plan, as in this case, which grants to its fiduciaries

discretionary decision-making authority with respect to questions of interpretation which

lead to an alleged denial of benefits such denials are reviewable for abuse of discretion

or more specifically whether the challenged decision was arbitrary and capricious.
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Firestone Tire and Rubber Co. v. Bruch, 489 U.S. 101, 114-15 (1989). A plan

administrator’s decision is arbitrary and capricious or contrary to law “only if it was

‘without reason, unsupported by substantial evidence or erroneous as a matter of law.’”

Pagan, 52 F.3d at 442 (quoting Abnathya, 2 F.3d at 45) (abrogated on other grds, Metro

Life Ins. Co. v. Glenn, 554 U.S. 105 (2008)).

       Here, the parties do not dispute the Plan is one covered under ERISA nor that

Plaintiffs were, prior to their putative retirements at issue, participants, and since their

pensions were approved are also beneficiaries of the Plan. Thus, for purposes of

Plaintiffs’ and Defendants’ motions for summary judgment whether Defendants

wrongfully denied Plaintiffs’ pension benefits turns on whether the record demonstrates

Defendants’ determination to suspend Plaintiffs’ pension benefits was based on an

unreasonable, i.e., an arbitrary and capricious interpretation of the requirements of the

Plan for approval of Plaintiffs’ pensions, or one contrary to law, in the context of the

Defendants’ legal and fiduciary obligation to administer the Plan in accordance with the

terms of the Trust, the Plan and applicable law. As discussed, Discussion, supra, at 24-

45, far from one fairly characterized as unreasonable, Defendants’ reinterpretation of

the Plan in 2011 to require Plaintiffs’ to completely terminate further employment as a

legally required precondition to continued eligibility for Plaintiffs’ early retirement

pension benefits in order to comply with the requirement of § 401(a) as construed by the

I.R.S., and in order to preserve the Fund’s tax-exempt status, was a corrective

interpretation entirely reasonable under the undisputed facts and applicable law and not

inconsistent with any terms of the Plan at that time. Also, as discussed, a plan trustee’s

action in distributing a benefit which violates applicable law is subject to reconsideration

and rectification as erroneous. Discussion, supra, at 29. Accordingly, Defendants’
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suspension of Plaintiffs’ pensions or requiring Plaintiffs forgo continued employment

with Plaintiffs’ former employers was not arbitrary, capricious or illegal. To the contrary,

it was on based on a reasonable interpretation of applicable Treasury regulations, I.R.S.

rulings and the PLR required to preserve the Fund’s tax-exemption. Plaintiffs’ Second

Claim is therefore without merit and Defendants’ motion (Dkt. 98) directed to Plaintiffs’

Second Claim should be GRANTED; Plaintiffs’ motion (Dkt. 101) should be DENIED.

       C.     Plaintiffs’ Third Claim.

       Plaintiffs’ Third claim alleges Defendants are liable to Plaintiffs for the value of

Plaintiffs lost pension benefits, income from lost employment with Plaintiffs’ former

employers and related medical benefits as a result of Defendants’ breach of fiduciary

duty owed Plaintiffs in violation of ERISA § 404(a)(1); 29 U.S.C. § 1104(a)(1) (“§

1104(a)(1)”). Such violations are actionable pursuant to ERISA § 502(a)(3); 29 U.S.C. §

1132(a)(3) (“§ 1132(a)(3)”). As relevant, Section 1104(a)(1) requires a fiduciary to act in

the interest of participants and beneficiaries for the exclusive purpose of providing

benefits to participants and their beneficiaries, and defraying expenses of plan

administration, with “the care, skill, prudence, and diligence under the circumstances

then prevailing that a prudent” person “would use in the conduct of an enterprise of a

like character and with like aims . . ..” In order to state a claim for breach of fiduciary

duty under ERISA, plaintiff must show “(1) defendant was performing a fiduciary

function when it engaged in the conduct at issue in the complaint; (2) the defendant

breached a fiduciary duty; and (3) the plaintiff is entitled to equitable relief.” In re

DeRogatis, 904 F.3d 174, 190 (2d Cir. 2018). Here, the parties do not dispute

Defendants were fiduciaries of the Plan when Defendants suspended Plaintiffs’ pension

benefits or required Plaintiffs terminate their respective employment. However, as
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discussed, Discussion, supra, at 24-45, because Plaintiffs did not retire in accordance

with the requirements of § 401(a) when Plaintiffs’ Special Early Retirement pensions

were approved by Defendants such that Plaintiffs’ pensions were approved in violation

of § 401(a), Defendants did not breach any fiduciary duty with respect to the award of

any pension benefit under the Plan. As discussed, Discussion, supra, at 24-45, in

suspending Plaintiffs’ pensions, Defendants acted reasonably to correct Defendants’

erroneous approval of Plaintiffs’ pensions in order to retain the tax-exempt status of the

Fund, a specific fiduciary duty imposed by the terms of the Trust itself, and necessary to

provide for its future economic viability in order to benefit all present and future retirees

as beneficiaries under the Plan who receive pensions from the Fund. See Dkt. 99 ¶ 34

(continued employment by Plaintiffs following early retirement pension approvals

“contrary to law” and “threaten the continued existence of the Pension Plan”) (Affidavit

of Debra Korpolinski, Plan Administrator, quoting from Defendants’ November 29, 2011

letter to Plaintiffs). It therefore would have been unreasonable for Defendants as

fiduciaries to act other than in compliance with their obligation under the Trust and

applicable tax law as interpreted by the I.R.S. to assure such tax-exempt status where

the failure to do so would thereby jeopardize the future viability of the Fund to the

economic detriment of all beneficiaries. As such, Defendants acted in a reasonably

prudent manner as would a prudent person in administering the Fund under the same

circumstances in accordance with § 1104(a)(i) in the best interests of the Plan’s

beneficiaries and, on this record, as a matter of law, there was no breach by Defendants

of any fiduciary duty to Plaintiffs imposed by ERISA.

       Defendants argue alternatively that Plaintiffs’ Third Claim is also subject to

dismissal as duplicative. Dkt. 100 at 19 n. 16 (citing Del Greco v. CVS Corp., 337
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F.Supp.2d 475, 486-88 (S.D.N.Y. 2004). In Del Greco the court held that a claim

pursuant to § 1132(a)(3) should proceed only if equitable relief, as Plaintiffs have

requested in this case, is sought. Del Greco, 337 F.Supp.2d at 487 (“Thus, Plaintiff may

bring a claim under both 29 U.S.C. § 1132(a)(1)(B) and 29 U.S.C. § 1132(a)(3) only as

long as she seeks equitable relief on her 29 U.S.C. § 1132(a)(3) claim.”) (citing Devlin v.

Empire Blue Cross and Blue Shield, 274 F.3d 76, 89-90 (2d Cir. 2001)). Although in Del

Greco plaintiff’s claims for breach of fiduciary duty was permitted to proceed the court

later found that the relief sought by plaintiff for that claim was the same as requested on

plaintiff’s denial of benefits claim, plaintiff’s claim pursuant to § 1132(a)(3) was deemed

redundant and dismissed. Id. at 488-89. Here, the relief Plaintiffs seek under Plaintiffs’

Third Claim is the same as requested under Plaintiffs’ First and Third Claims and, as

such, should, alternatively, also be dismissed based on redundancy. Accordingly,

Defendants’ motion (Dkt. 98) directed to Plaintiffs’ Third Claim should be GRANTED;

Plaintiffs’ motion (Dkt. 101) directed to this claim should be DENIED.

       D.     Defendants’ Counterclaim for Recoupment.

       In Plaintiffs’ cross-motion for summary judgment (Dkt. 101 at 27-28), Plaintiffs

request that Defendants’ counterclaims, Dkt. 30, seeking recoupment of the

approximately $1.9 million erroneously paid to Plaintiffs from 2002 to the current date as

improperly approved Special Early Retirement pensions be withdrawn for failure to

designate a fund exclusively holding such payments in order to support equitable relief

available under ERISA as required by Great-West Life & Annuity Ins. Co. v. Knudson,

534 U.S. 204, 213-14 (2002) (fiduciary’s claim for restitution of medical treatment

payments from proceeds of settlement of beneficiary’s tort action not then in actual

possession of beneficiary was legal remedy not available pursuant to § 1132(a)(3)
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which provides for equitable relief directed to an identifiable fund under beneficiary’s

control only). In Defendants’ Answer, Defendants, pursuant to ERISA § 502(a)(3) (29

U.S.C. § 1132(a)(3) and (e)), asserted counterclaims against each Plaintiff to recover

the amounts of Special Early Retirement pensions erroneously paid to each Plaintiff as

of February 1, 2012 (“the Counterclaims”). See, e.g., Dkt. 30 at 9-11 (Plaintiff Metzgar).

In Plaintiffs’ Reply (Dkt. 57), Plaintiffs deny Defendants’ assertions that Plaintiffs were

ineligible for Special Early Retirement pensions under the terms of the Plan and that the

pension payments received by each Plaintiff were in violation of the Plan permitting

Defendants to seek recovery of the pension payments paid to each Plaintiff. See, e.g.,

Dkt. 57, ¶¶ 16, 18 (Plaintiff Metzgar). Plaintiffs also contend the Counterclaims are

outside both a three-year and six-year statute of limitation period. Id. at 17-18.

Alternatively, Plaintiffs asserted a (six-year) statute of limitation defense for Plaintiffs

Mueller, Noble, K. Reagan, and R. Reagan. In Defendants’ Memorandum of Law In

Further Support of Defendants’ Motion For Summary Judgment And In Opposition To

Plaintiffs’ Motion For Summary Judgment, filed March 5, 2018 (Dkt. 116), Defendants

request permission to withdraw the Counterclaims for the reason, consistent with

Plaintiffs’ primary defense, that Defendants have been unable to establish the existence

of the pension funds paid to Plaintiffs to support enforcement of the equitable lien or

constructive trust Defendants seek to impose upon such funds as required by Montanile

v. Bd. of Trustees of the Nat’l Elevator Health Benefit Plan, ___ U.S. ___, 136 S.Ct.

651, 659-60 (2016) (fiduciary’s action pursuant to § 1132(a)(3) for equitable relief must

be directed to an identifiable fund held by pension plan beneficiary who had agreed plan

was entitled to restitution of value of medical treatment benefits received from plaintiff



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benefit plan).14 Plaintiffs have not responded to Defendants’ request for dismissal of the

Defendants’ Counterclaims. See Dkt. 121 (Plaintiffs’ Reply Memorandum of Law in

Support of Motion for Summary Judgment) (passim)).

        Fed.R.Civ.P. 41 (“Rule 41__”), which applies to counterclaims as well as a

plaintiff’s claim, see Rule 41(c), provides for voluntary dismissal of a counterclaim

where, as here, plaintiff has filed a reply as a responsive pleading either by (1) a

stipulation of dismissal signed by all parties pursuant to Rule 41(a)(1)(ii), or (2) pursuant

to Rule 41(a)(2) by court order upon “such terms that the court considers proper.”

Because Plaintiffs have served a reply, a voluntary dismissal by Defendants of the

Counterclaims is not available pursuant to Rule 41(d) (“A claimant’s voluntary dismissal

under Rule 41(a)(1)(A)(i) must be made: (1) before a responsive pleading is served . . ..

Accordingly, in the absence, to date, of a stipulation filed pursuant to Rule 41(a)(1)(ii)

and, in the absence of any opposition by Plaintiffs to Defendants’ request, the court

finds Defendants’ concession that Defendants are unable to establish the existence of a

fund to which Defendants’ equitable relief request can attach, and request to withdraw

the Counterclaims, should be considered under Rule 41(a)(2) and, as such, because

Defendants do not request such dismissal should be without prejudice, Defendants’

motion to dismiss the Counterclaims should be GRANTED with prejudice.




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   Defendants’ request, which requires an order of the court, should have been made by motion in
accordance with Fed.R.Civ.P. 7(b)(1). Accordingly, for purposes of this Report and Recommendation, the
court treats Defendants’ request as a motion to dismiss the Counterclaims pursuant to Rule 41(a)(2) as a
dispositive motion.
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II.       Plaintiffs’ Motion For Leave to File Supplemental Complaint.

          By papers filed February 1, 2018, Plaintiffs moved for leave to file a supplemental

complaint pursuant to Fed.R.Civ.P. 15(d) (“Rule 15(d)”) (Dkt. 110) and attaching such

Proposed First Supplemental Complaint (Dkt. 110-2). In the Proposed Supplemental

Complaint, Plaintiffs seeks to allege “new facts [which] supplement and provide

additional particularization for each cause of action in the original Complaint.” Dkt. 110-

2 ¶ 20. Specifically, Plaintiffs seek to add allegations that Defendants amended the

Plan in August 2016 (“the August 2016 Amendment”) to authorize Defendants to

recover the asserted overpayments Defendants made to Plaintiffs as Special Early

Retirement pensions erroneously approved by Defendants in specified amounts paid to

each Plaintiff with 12% interest. Dkt. 110-2 ¶¶ 23-24(a)-(g). Plaintiffs also propose to

allege that in exercising the newly enacted authority granted to Defendants by the

August 2016 Amendment to seek recovery of the overpayments, Defendants withheld

the entire January 2017 pension payment due Plaintiffs Mueller, Noble, O’Callaghan,

Puglia, K. Reagan and R. Reagan, and have further reduced each Plaintiff’s monthly

pension payment thereafter by 25%. Plaintiffs propose to further allege that as to

Plaintiff Metzgar, who has not discontinued his non-Disqualifying Employment under the

Plan and had not reached age 65,15 Defendants have refused to pay Metzgar any

pension payments Plaintiffs claim are due him since January 2012 when he refused to

terminate his employment with Danforth in compliance with Defendants’ demand. Dkt.

110-2 ¶ 25.




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      Metzgar will turn 65 on April 10, 2019 (Dkt. 105 ¶ 8).
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       Plaintiffs also propose new allegations describing that a substantial number of

other retirees under the Plan who, like Plaintiffs, continued working with participating

employers in non-Disqualifying Employment following approval of their Special Early

Retirement pensions by Defendants and thus, according to Defendants, also owe

Defendants large sums for improperly approved pensions to such early retirees, were

offered settlements of Defendants’ threatened claims, like those asserted by

Defendants against Plaintiffs, against such other early retirees, but not Plaintiffs, for

“pennies on the dollar” which were accepted and paid by these other retirees with the

result that these retirees’ alleged overpayments were in effect reduced to approximately

5% of the face amount of Defendants’ respective claims for the pension overpayments.

Dkt. 110-2 ¶¶ 26-29. Additionally, according to Plaintiffs’ proposed supplemental

complaint, Defendants refused to settle, on the same terms as described above, with

Plaintiffs R. Regan, Puglia, K. Reagan and Noble, who were not interested in such a

favorable settlement, unless Plaintiffs Metzgar, Mueller and O’Callaghan, who

apparently refused to settle on these terms, also settled with Defendants. Dkt. 110-2 ¶

30-31. Plaintiffs further state that in the absence of a settlement with Plaintiffs as

described above, Defendants issued a 2017 denial of Plaintiffs’ administrative appeal of

Defendants’ self-help initiative upholding Defendants’ original 2011 Determination and

continued to pay Plaintiffs reduced pensions as described. Dkt. 110-2 ¶ 32.

Additionally, Plaintiffs assert a claim pursuant to 29 U.S.C. § 1132(a)(1)(B) for wrongful

denial of pension benefits based on the fact that when Plaintiffs retired the Plan did not

include the August 2016 Amendment authorizing Defendants to recover the alleged

pension overpayments by the set-offs against Plaintiffs’ pension payment commencing

in January 2017, a form of self-help prohibited by ERISA. Dkt. 110-2 ¶¶ 40-43.
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Plaintiffs contend that Plaintiffs’ motion should be granted in the absence of undue

delay, bad faith, dilatory tactics, undue prejudice to Defendants as the party to be

served, or futility. Dkt. 110-1 at 6 (citing caselaw). Plaintiffs further assert that Plaintiffs

could not earlier seek the Proposed Supplemental Complaint as an Amended Complaint

addressing Defendants’ December 2016 determination to initiate set-off for repayment

of Defendants’ restitution or recoupment claims as Defendants’ recovery actions

occurred after the cut-off of November 4, 2016 for motions to file amended pleadings

established by the Scheduling Order (Dkt. 56) and Plaintiffs were required to exhaust

administrative remedies by appealing Defendants’ determination to obtain repayment

which Defendants eventually denied in May 2017. Dkt. 110-1 ¶¶ 26-27. Plaintiffs

therefore request permission to supplement the Complaint by asserting additional

claims pursuant to § 204(g) based on Plaintiffs’ assertion that Defendants attempt to

recover the pension overpayments by set-off is a Plan amendment in violation of the

anti-cutback rule, and Defendants’ refusal to pay Plaintiffs the full amount of Plaintiffs’

Special Early Retirement pensions due all Plaintiffs since January 2017 (except Metzgar

who does not at present receive a pension payment) is a denial of benefits in violation

of § 1132(a)(1)(B) and § 1132(a)(3). Dkt. 110-2 ¶¶ 36-48. In the Proposed

Supplemental Complaint Plaintiffs also request a permanent injunction based on these

newly stated facts, Dkt. 110-2 ¶ 44-48, and a preliminary injunction, ¶¶ 49-54, based on

an irreparable loss of enjoyment of Plaintiffs’ retirement years given Plaintiffs’ advancing

ages and the expected time necessary to complete this litigation. Dkt. 110-2 ¶¶ 49-54.

Defendants oppose Plaintiffs’ motion (Dkt. 114) (Defendants’ Memorandum of Law in

Opposition to Plaintiffs Motion for Leave to File a Supplemental Complaint filed March 5,

2018) asserting Plaintiffs’ undue delay in requesting permission to file the Proposed
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Supplemental Complaint and futility based on a short contractual 180-day limitation

period as established by the Plan. Plaintiffs’ Reply Memorandum of Law (Dkt. 122-1)

was filed March 19, 2018.

       In general, Fed.R.Civ.P. 15(d) (“Rule 15(d)”) permits the court to allow a

supplemental complaint to add “any transaction, occurrence, or event that happened

after the date of the pleading to be supplemented.” Supplemental pleadings are

typically permitted absent undue delay, bad faith, dilatory tactics, undue prejudice or

futility. See Quaratino v. Tiffany & Co., 71 F.3d 58, 66 (2d Cir. 1995). Plaintiffs assert,

see Discussion, supra, at 57, their request for the Proposed Supplemental Complaint is

not based on any undue delay by Plaintiffs. In support, Plaintiffs also point to the court’s

“suggestion” that Defendants’ set-off actions could be the subject of a Supplemental

Complaint as stated in the court’s Decision and Order (Dkt. 13), filed August 29, 2017,

(“the D&O”) denying Plaintiffs’ request to consolidate a new complaint (17-CV-726V(F)

(“Metzgar II”)) filed on August 1, 2017 by Plaintiffs against Defendants and former

trustees of the Fund asserting anti-cutback, denial of benefits, breach of fiduciary duty

and discrimination claims in violation of ERISA Sections 204(g), 502(a)(1)(B), 502(a)(3),

510 and 409(a). In Metzgar II, Plaintiffs also requested declaratory and injunctive relief.

In Metzgar II, Plaintiffs asserted these new claims were based on Defendants’ August

2016 Amendment to the Plan authorizing Defendants to seek restitution or engage in

other recovery actions such as the set-off challenged by Plaintiffs of the Special Early

Retirement pensions Plaintiffs had been erroneously paid to Plaintiffs by Defendants in

violation of Section 401(a) of the Internal Revenue Code and Defendants’ December

2016 determination reducing Plaintiffs’ future pension payments by 25% to recoup such

overpayments. In the D&O, the court determined that consolidation of Metzgar I, the
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instant action, and Metzgar II, would delay resolution of the controlling threshold

questions, viz., whether Defendants’ 2011 Determination to suspend Plaintiffs’ early

retirement pensions violated ERISA § 204(g) or § 502(a)(3). Thus, Plaintiffs’ proposed

Supplemental Complaint which seeks to include the same claims asserted in Metzgar II

would, if allowed, effectively nullify the determination of the D&O that litigating such

claims at the present time in conjunction with Metzgar I could unduly delay resolution of

this key threshold issue.

       It is correct, as Plaintiffs point out, Dkt. 110-1 ¶ 29, that the court, in the D&O did

observe that Plaintiffs could seek to include the facts relating to Defendants’ August

2016 plan amendment and Defendants’ subsequent decision in December 2016 to

recover by set-off, beginning in January 2017, the overpayment of Plaintiffs’ early

pension benefits from pension payments to which Plaintiffs (except as to Metzgar) were

then entitled having reached age 65, but, contrary to Plaintiffs’ contention, the court’s

“suggestion,” Dkt. 110-1 ¶ 29; Dkt. 122-1 at 13, was limited to Plaintiffs’ request for

injunctive relief in Metzgar I. As the D&O stated in this regard “Plaintiffs may, if Plaintiffs

deem it necessary, also request permission to add the Defendants’ December 2016 set-

off decision to the Complaint in Metzgar I pursuant to Fed.R.Civ.P. 15(d), as a

supplemental pleading regarding such decision and its adverse effect on Plaintiffs as

additional particularization to support Plaintiffs’ injunctive request.” Decision and Order,

Dkt. 13 at 11.

       In reliance on the court’s observation Plaintiffs, in the proposed Supplemental

Complaint, sought to add allegations regarding Defendants’ August 2016 Plan

amendment authorizing Defendants to obtain restitution of Defendants’ pension

overpayments to Plaintiffs and the December 2016 implementation of substantial (100%
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of Plaintiffs’ January 2017 pension payment and 25% of each following payment) set-

offs as a form of self-help in accordance with the 2016 Plan Amendment authorization

to do so which Plaintiffs assert constitute additional violations of § 204(g) and §

502(a)(3). In support of Plaintiffs’ motion for leave to file the Proposed Supplemental

Complaint, Plaintiffs assert the court’s “suggestion” induced Plaintiffs to “file a

supplemental complaint for additional particularization of their claims . . ..” Dkt. 122-1 at

8. However, as a fair reading of the actual text of the relevant portion of the D&O

demonstrates, the court’s comment was limited to Plaintiffs’ providing additional support

for Plaintiffs’ probable request for preliminary injunctive relief in Metzgar I by explaining

the additional economic harm incurred by Plaintiffs stemming from the underlying

Defendant’s 2011 Determination that Plaintiffs’ Special Early Retirement pensions were

erroneously approved and needed to be suspended as additional evidence that a

balance of hardships, see D&O at 10-11, favored Plaintiffs. Plaintiffs acknowledge

“[Defendants’] recoupment action [counterclaims] is based entirely on the same facts as

the 2011 Determination.” Dkt. 122-1 at 10. Accordingly, allowing the Proposed

Supplemental Complaint to proceed at this point in the case would circumvent the

court’s denial of consolidation of Metzgar I and Metzgar II and is predicated on Plaintiffs’

misreading of the intent of the court’s observation. Additionally, as the undersigned has

recommended Defendants’ summary judgment motion on the merits of the threshold

issue in this case be granted, Discussion, supra, at 24-45, and, that Plaintiffs’ motion for

preliminary injunctive be denied, see Discussion, infra, at 61-65, for lack of a showing of

irreparable harm, a prerequisite to such relief, any use of Plaintiffs’ proposed

supplemental allegations to support Plaintiffs’ request for injunctive relief is moot. As

Defendants have requested dismissal of the Counterclaims, which the court also
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recommends be granted, the need for any supplemental pleading of facts relating to

such Counterclaims in Metzgar I has been substantially diminished if not eliminated.

Further, all of Plaintiffs’ claims in Metzgar II attacking Defendants’ set-offs remain

unaffected and regardless of the disposition of the motions for summary judgment

directed to Plaintiffs’ claims in the instant action, Plaintiffs may, upon vacating the stay

of Metzgar II yet proceed based on the allegations in Metzgar II and the Proposed

Supplemental Complaint, including that the August 2016 Amendment may not be

enforced against Plaintiffs’ pensions as post-dating Plaintiffs’ retirements, should

Plaintiffs seek to vacate the stay and leave to file such Supplemental Complaint (see

Dkt. 110-2 ¶¶ 42) in connection with Metzgar II.

       Based on these factors the court finds Plaintiffs’ motion to file the Proposed

Supplemental complaint by injecting additional claims into the instant case at this point

in the litigation could unduly delay resolution of the threshold merits of this case thereby

prejudicing Defendants and interfering with the early resolution of the instant litigation.

See Krumme v. WestPoint Stevens, Inc., 143 F.3d 71, 88 (2d Cir. 1998) (prejudice

arising from delay in disposing of case because of proposed additional claims warrants

denial of motion for leave to amend). Finally, based on the foregoing, it is not

necessary to address Defendants’ alternative contention in opposition to Plaintiffs’

motion contending Plaintiffs’ proposed supplemental allegations are futile as outside the

Plan’s contractual 180-period for asserting claims directed to Defendants’ August 2016

Amendment. Accordingly, Plaintiffs’ motion for leave to file the Proposed Supplemental

Complaint (Dkt. 110) should be DENIED.




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III.    Preliminary Injunction.

        As noted, Background, supra, at 4, Plaintiffs also move, by papers filed February

1, 2018, pursuant to Fed.R.Civ.P. 65(a) (“Rule 65(a)”) for a preliminary injunction

enjoining Defendants from any reduction of Plaintiffs’ Special Early Retirement monthly

pension benefits (“Plaintiffs’ Motion for Preliminary Injunction” or “Plaintiffs’ motion”).

The basis for Plaintiffs’ motion is that beginning in January 2017 Defendants have

reduced Plaintiffs’ monthly pension payments by 100% of the January 2017 payments

and thereafter by 25% (except for Plaintiff Metzgar who has continued employment with

his former employer since January 2012 when Defendants suspended Plaintiffs’ Special

Early Retirement pensions but who will also become eligible for such pension payments

upon attaining age 65) until Plaintiffs terminated their continued employment or reached

age 65 which pensions Defendants had determined in December 2011 were approved

in violation of § 401(a). Also, as noted, Facts, supra, at 12-13, Defendants’ 2011

Determination is the subject of Plaintiffs’ and Defendants’ motions for summary

judgment addressing whether Defendants’ 2011 Determination constitutes a violation of

Plaintiffs’ rights under ERISA § 204(g) (anti-cutback rule), ERISA § 502(a)(1)(B)

(authorizing beneficiary recovery of benefits wrongfully denied) and ERISA § 1104(a)(1)

(breach of fiduciary duty). Thus, whether Defendants’ subsequent decision to recoup,

commencing in January 2017, the pensions erroneously paid to Plaintiffs up to January

2012 by partially reducing Plaintiffs’ pension payments, as Defendants maintain, was

lawful under ERISA thereby supporting Plaintiffs’ request for preliminary injunction,

turns on whether Defendants’ underlying decision in December 2011 to suspend such

pension payments to bring the Plan into compliance with § 401(a) was lawful. As

discussed, Discussion, supra, at 54-61, although Plaintiffs’ motion for leave to serve a
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supplemental pleading pursuant to Rule 15(d) has been denied, the court finds

Plaintiffs’ claims as alleged in this action, Metzgar I, provides a sufficient basis to

support Plaintiffs’ motion for preliminary injunctive relief if the other prerequisites for

Plaintiffs’ motion have been satisfied. Specifically, if Defendants’ suspensions of

Plaintiffs’ pensions in 2012, as illegally approved by Defendants, were improper under §

204(g), then Plaintiffs would have been entitled to continue to receive their pensions

without set-off to the present time and Defendants would have no legal basis for

recouping beginning in 2017 the amount of Plaintiffs’ pensions received by Plaintiffs to

January 2012. Thus, the threshold issue of the basic validity of Defendants’ actions

against Plaintiffs as challenged in this case provide a sufficient basis upon which

Plaintiffs may seek preliminary injunctive relief to attempt further to avoid adverse

consequences, i.e., reduced pension payments.

       The criteria for granting a temporary restraining order pursuant to Fed.R.Civ.P.

65(b) (ARule 65(b)@) or a preliminary injunction pursuant to Fed.R.Civ.P. 65(a) (ARule

65(a)@) are the same. Neopost USA, Inc. v. McCabe, 2011 WL 4368447, *3 (D.Conn.

Sep=t 19, 2011) (quoting Citigroup Global Markets, Inc. v. VCG Opportunities Master

Fund Limited, 598 F.3d 30, 35 (2d Cir. 2010). A party seeking either form of preliminary

equitable relief must Ashow >(a) irreparable harm and (b) either (1) likelihood of success

on the merits or (2) sufficiently serious questions going to the merits to make them a fair

ground for litigation and a balance of hardships tipping decidedly toward the party

requesting the preliminary relief.=@ Citigroup Global Markets, Inc., 598 F.3d at 35

(quoting Jackson Dairy, Inc. v. H.P. Hood & Sons, Inc., 596 F.2d 70, 72 (2d Cir. 1979)).

The injunctive relief requested must also be shown to be A>in the public interest.=@

Carlson v. Medco Health Solutions, Inc., 2011 WL 3800017, *4 (W.D.N.Y. Aug. 29,
                                               63
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2011) (Arcara, J.) (quoting Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20

(2008)). It is Awell-settled@ that a showing of irreparable harm is a prerequisite for relief

pursuant to both Rule 65(a) and 65(b). Neopost USA, Inc., 2011 WL 4368447, *3. To

qualify as irreparable, the requisite harm must be Aactual and imminent, not remote and

speculative, and not adequately compensable by money damages.@ Id. (citing cases).

The party seeking injunctive relief carries the burden of establishing each of these

factors by a preponderance of the evidence. Carlson, 2011 WL 3800017, *4 (citing

Procter & Gamble Co. v. Ultreo, Inc., 574 F.Supp.2d 339, 344 (S.D.N.Y. 2008)). AThe

irreparable harm requirement is the most important factor in determining whether

preliminary injunct[ive] [relief] should issue.@ Chapman v. South Buffalo Railway

Company, 43 F.Supp.2d 312, 318 (W.D.N.Y. 1999) (Arcara, J.). Moreover, absent Aa

showing of irreparable harm, it is not necessary to examine the second prong of the

preliminary injunction requirements,@ i.e., likelihood of success or the presence of

serious questions together with a balance of hardship in movant’s favor. Id. at 318

(citing Shady v. Tyson, 5 F.Supp.2d 102, 109 (E.D.N.Y. 1998)).

       As noted, it is established Second Circuit law that “[a] showing of irreparable

harm is essential to the issuance of preliminary injunction.” See Sperry Int’l Trade, Inc.

v. Government of Israel, 670 F.2d 8, 11-12 (2d Cir. 1982). To establish irreparable

harm, the movant must demonstrate ‘an injury that is neither remote nor speculative but

actual and imminent’ and that cannot be remedied by an award of monetary damages.”

Shapiro v. Cadman Towers, Inc., 51 F.3d 328, 332 (2d Cir. 1995) (quoting Tucker

Anthony Realty Corp. v. Schlesinger, 888 F.2d 969, 975 (2nd Cir. 1989)). See also

Wright v. New York State Dep’t. of Corrections, 568 Fed.Appx. 53 (2d Cir. 2014)

(quoting Shapiro, 51 F.3d at 332); Wright Miller Kamer Marcus Spencer Steinman, FED.
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PROC. & PRAC. § 2348.1 (3d ed.) (“[A] preliminary injunction usually will be denied if it

appears that the applicant has an adequate alternate remedy in the form of money

damages or other relief.”) (citing cases). An exception to this general rule arises where

there is a risk that the movant will become insolvent prior collection of a judgment in the

movant’s favor. Id. (citing Brenntag Intern’l Chemicals, Inc. v. Bank of India, 175 F.3d

245, 249-50 (2d Cir. 1999). Here, however, none of the Plaintiffs aver that in the

absence of a preliminary injunction to prevent Defendants from any further reduction of

Plaintiffs pension payments, Plaintiffs will suffer insolvency. At most, Plaintiffs Metzgar,

Mueller, Noble, O’Callaghan, K. Reagan, and Puglia, see Affirmation of Matthew K.

Pelkey, Esq., Dkt. 111-2 ¶ 20, (referencing Affidavits of Plaintiffs Metzgar, Mueller,

Noble, O’Callaghan, Kevin Regan, and Puglia, filed in support of Plaintiffs motion for a

preliminary injunction), state that Defendants’ actions have resulted in a “significant

financial hardship.” See Metzgar Affidavit (Dkt. 111-18 ¶ 34); Mueller Affidavit (Dkt.

111-9 ¶ 29); Noble Affidavit (Dkt. 111-10 ¶ 28); O’Callaghan Affidavit (Dkt. 111-11 ¶ 30);

K. Reagan Affidavit (Dkt. 111-12 ¶ 27); Puglia Affidavit (Dkt. 111-14 ¶ 28).16 Each

Plaintiff also asserted that based their respective ages, 63-71, and further expected

lengthy proceedings to obtain complete financial relief in this case, he “may suffer harm

that cannot be compensated by money damages.” See, e.g., Dkt. 111-18 ¶ 34 (Metzgar

Affidavit dated January 25, 2018). Thus, Plaintiffs do not demonstrate that absent

preliminary injunctive relief Plaintiffs will suffer insolvency and that such a result is

“actual and imminent.” Neopost USA, Inc., 2011 WL 4368447 at *3. Accordingly,




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   Plaintiff Metzgar also avers that the loss of his pension in January 2012 and the anticipated reduction
by Defendants in his pension payments when his pension resumes at age 65, in April 2019, has and will
result in “significant financial hardship.” Dkt. 111-8 ¶ 28.
                                                       65
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Plaintiffs fail to satisfy the threshold prerequisite of irreparable harm, and Plaintiffs’

motion, Dkt. 111, should therefore be DENIED.



                                       CONCLUSION

       Based on the foregoing, Defendants’ motion for summary judgment (Dkt. 98)

should be GRANTED; Plaintiffs’ motion for summary judgment (Dkt. 101) should be

DENIED; Plaintiffs’ motion for leave to file a Supplemental Complaint (Dkt. 110) is

DENIED; Defendants’ motion to dismiss the Counterclaims (Dkt. 116) should be

GRANTED; Plaintiffs’ motion for preliminary injunction (Dkt. 111) should be DENIED.

The Clerk of Court should be directed to close the file.

                                                    Respectfully submitted,

                                                     /s/ Leslie G. Foschio
                                              ________________________________
                                                      LESLIE G. FOSCHIO
                                              UNITED STATES MAGISTRATE JUDGE

As to Plaintiffs’ Motion for Leave
to File a Supplemental Complaint
(Dkt. 110), Plaintiffs motion is
DENIED.

SO ORDERED.

     /s/ Leslie G. Foschio
_________________________________
         LESLIE G. FOSCHIO
UNITED STATES MAGISTRATE JUDGE

Dated: March 28, 2019
       Buffalo, New York




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         ORDERED that this Report and Recommendation be filed with the Clerk of the

Court.

         ANY OBJECTIONS to this Report and Recommendation must be filed with the

Clerk of the Court within fourteen (14) days of service of this Report and

Recommendation in accordance with the above statute, Rules 72(b), 6(a) and 6(d) of

the Federal Rules of Civil Procedure and Local Rule 72.3.

         Failure to file objections within the specified time or to request an

extension of such time waives the right to appeal the District Court's Order.

Thomas v. Arn, 474 U.S. 140 (1985); Small v. Secretary of Health and Human

Services, 892 F.2d 15 (2d Cir. 1989); Wesolek v. Canadair Limited, 838 F.2d 55 (2d

Cir. 1988).

         Let the Clerk send a copy of this Report and Recommendation to the attorneys

for the Plaintiffs and the Defendants.

SO ORDERED.
                                              /s/ Leslie G. Foschio
                                   ______________________________________
                                                 LESLIE G. FOSCHIO
                                        UNITED STATES MAGISTRATE JUDGE
DATED:         March 28, 2019
               Buffalo, New York




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